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                                                          dissenting in part.

         United States Court of Appeals,                                        West Headnotes
                   Fifth Circuit.
Barbara S. RANDALL, On Her Own Behalf and as              [1] Federal Courts 170B             776
 Personal Representative of the Estate of the De-
                                                          170B Federal Courts
cedent, Theodore F. Randall, Jr., and on the Behalf
                                                             170BVIII Courts of Appeals
 of the Children, Rod Anthony Randall and Holly
                                                                170BVIII(K) Scope, Standards, and Extent
        Leann Randall, Plaintiff-Appellee,
                                                                   170BVIII(K)1 In General
                         v.
                                                                      170Bk776 k. Trial de novo. Most Cited
   CHEVRON U.S.A., INC., et al., Defendants,
                                                          Cases
      Sea Savage, Inc., Defendant-Appellant.
                                                          Federal Courts 170B           850.1
                   No. 91-9567.
                   Feb. 11, 1994.                         170B Federal Courts
                                                             170BVIII Courts of Appeals
     Estate of time charterer's employee sued time
                                                                 170BVIII(K) Scope, Standards, and Extent
charterer and vessel owner for negligence resulting
                                                                     170BVIII(K)5 Questions of Fact, Verdicts
in employee's death, and, after judgment was
                                                          and Findings
entered for estate, time charterer sought indemnific-
                                                                        170Bk850 Clearly Erroneous Findings
ation from vessel owner and moved court to recon-
                                                          of Court or Jury in General
sider ruling that charterer was not covered by mar-
                                                                              170Bk850.1 k. In general. Most
ine insurance policy. The United States District
                                                          Cited Cases
Court for the Eastern District of Louisiana, Morey
                                                             (Formerly 170Bk850)
L. Sear, Chief Judge, 788 F.Supp. 1391, found that
                                                               Reviewing court accepts factual findings of
charterer was entitled to indemnification, and at
                                                          district judge unless they are clearly erroneous, but
788 F.Supp. 1398, ordered insurance coverage. Ap-
                                                          reviews de novo district judge's conclusions of law.
peals were taken. The Court of Appeals, King, Cir-
cuit Judge, held that: (1) employee injured while         [2] Federal Courts 170B             776
transiently or fortuitously on actual navigable wa-
ters was covered under Longshore and Harbor               170B Federal Courts
Workers' Compensation Act (LHWCA); (2) evid-                 170BVIII Courts of Appeals
ence supported assignment of 75 percent of fault in             170BVIII(K) Scope, Standards, and Extent
employee's death to vessel sent to attempt evacu-                  170BVIII(K)1 In General
ation of fixed platform; and (3) time charterer was                    170Bk776 k. Trial de novo. Most Cited
not entitled to indemnification from vessel for dam-      Cases
ages which were attributable to time charterer's              Interpretation of indemnity clause and insur-
own negligence.                                           ance policy is reviewed de novo on appeal.

     Affirmed in part; reversed and remanded in           [3] Admiralty 16          1.20(2)
part.
                                                          16 Admiralty
    Robert M. Parker, District Judge, sitting by             16I Jurisdiction
designation, filed opinion concurring in part and               16k1.10 What Law Governs




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         16k1.20 Effect of State Laws                      Afforded by Acts
             16k1.20(2) k. Contracts in general; in-                      413k2085 k. Federal acts. Most Cited
surance. Most Cited Cases                                  Cases
    Construction of maritime contracts is governed              As general rule, Longshore and Harbor Work-
by federal maritime law.                                   ers' Compensation Act (LHWCA) imposes on em-
                                                           ployer liability for benefits payable to injured
[4] Admiralty 16        1.20(2)                            worker, and employer is thus generally immune
                                                           from injured worker's potential tort suits. Long-
16 Admiralty
                                                           shore and Harbor Workers' Compensation Act, §§
    16I Jurisdiction
                                                           2(3), 4(a), 7-9, 33 U.S.C.A. §§ 902(3), 904(a), 907-
       16k1.10 What Law Governs
                                                           909.
          16k1.20 Effect of State Laws
               16k1.20(2) k. Contracts in general; in-     [7] Shipping 354       50
surance. Most Cited Cases
     Although federal law governs interpretation of        354 Shipping
marine insurance contracts, court applies law of              354III Charters
state in which marine insurance contract was issued                 354k50 k. Expenditures and liabilities in-
and delivered if there is no federal law, legislative      curred. Most Cited Cases
or judicial, relating to question.
                                                           Shipping 354       84(1)
[5] Workers' Compensation 413           260
                                                           354 Shipping
413 Workers' Compensation                                        354V Rights and Liabilities of Vessels and
   413V Employees Within Acts                              Owners in General
          413V(B) Particular Classes of Persons in               354k78 Torts
General                                                              354k84 Injuries to Stevedores and Other
             413k260 k. Seamen, fishermen, steve-          Independent Contractors and Their Employees
dores, and other maritime employees. Most Cited                        354k84(1) k. In general; liability. Most
Cases                                                      Cited Cases
    For purposes of compensation under the Long-
shore and Harbor Workers' Compensation Act                 Workers' Compensation 413           2085
(LHWCA), “employee” is any person engaged in
                                                           413 Workers' Compensation
maritime employment, including any longshoreman
                                                                 413XX Effect of Act on Other Statutory or
or other person engaged in longshoreman opera-
                                                           Common-Law Rights of Action and Defenses
tions, and any harbor worker including ship repair-
                                                                  413XX(A) Between Employer and Employee
man, shipbuilder, and ship-breaker. Longshore and
                                                                       413XX(A)1 Exclusiveness of Remedies
Harbor Workers' Compensation Act, § 2(3), 33
                                                           Afforded by Acts
U.S.C.A. § 902(3).
                                                                          413k2085 k. Federal acts. Most Cited
[6] Workers' Compensation 413           2085               Cases
                                                               Under Longshore and Harbor Workers' Com-
413 Workers' Compensation                                  pensation Act (LHWCA), injured longshoreman
     413XX Effect of Act on Other Statutory or             lacks right to bring unseaworthiness claim but has
Common-Law Rights of Action and Defenses                   right to recover for negligence of a “vessel,” which
      413XX(A) Between Employer and Employee               includes vessel's owner, owner pro hac vice, agent,
          413XX(A)1 Exclusiveness of Remedies              operator, charter or bare boat charterer, master, of-




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ficer, or crew member. Longshore and Harbor                             354k84(1) k. In general; liability. Most
Workers' Compensation Act, §§ 2(21), 5(b), 33              Cited Cases
U.S.C.A. §§ 902(21), 905(b).                                    Mechanic who was killed while being evacu-
                                                           ated from fixed platform in Gulf of Mexico met
[8] Shipping 354       84(1)                               “status” requirement of maritime employment for
                                                           coverage under Longshore and Harbor Workers'
354 Shipping
                                                           Compensation Act (LHWCA) where he was injured
       354V Rights and Liabilities of Vessels and
                                                           and killed during attempted evacuation from plat-
Owners in General
                                                           form to vessel even if he was only “transiently or
       354k78 Torts
                                                           fortuitously” on actual navigable waters. Longshore
             354k84 Injuries to Stevedores and Other
                                                           and Harbor Workers' Compensation Act, § 1 et
Independent Contractors and Their Employees
                                                           seq., 33 U.S.C.A. § 901 et seq.
              354k84(1) k. In general; liability. Most
Cited Cases                                                [11] Shipping 354       50
     Accident is covered by Longshore and Harbor
Workers' Compensation Act (LHWCA) if injury                354 Shipping
occurs at covered location or “situs” and if injured          354III Charters
party is person engaged in “maritime employment.”                   354k50 k. Expenditures and liabilities in-
Longshore and Harbor Workers' Compensation Act,            curred. Most Cited Cases
§ 1 et seq., 33 U.S.C.A. § 901 et seq.
                                                           Shipping 354        84(1)
[9] Shipping 354       84(1)
                                                           354 Shipping
354 Shipping                                                     354V Rights and Liabilities of Vessels and
      354V Rights and Liabilities of Vessels and           Owners in General
Owners in General                                                354k78 Torts
      354k78 Torts                                                    354k84 Injuries to Stevedores and Other
           354k84 Injuries to Stevedores and Other         Independent Contractors and Their Employees
Independent Contractors and Their Employees                            354k84(1) k. In general; liability. Most
            354k84(1) k. In general; liability. Most       Cited Cases
Cited Cases                                                    Under Longshore and Harbor Workers' Com-
     Coverage under Longshore and Harbor Work-             pensation Act (LHWCA), injured longshoreman
ers' Compensation Act (LHWCA) is available for             could bring suit against vessel and against charter
workers injured while transiently or fortuitously on       or bare boat charterer. Longshore and Harbor
actual navigable waters. Longshore and Harbor              Workers' Compensation Act, § 2(21), 33 U.S.C. §
Workers' Compensation Act, § 1 et seq., 33                 902(21).
U.S.C.A. § 901 et seq.
                                                           [12] Shipping 354       50
[10] Shipping 354        84(1)
                                                           354 Shipping
354 Shipping                                                  354III Charters
     354V Rights and Liabilities of Vessels and                     354k50 k. Expenditures and liabilities in-
Owners in General                                          curred. Most Cited Cases
      354k78 Torts
          354k84 Injuries to Stevedores and Other          Shipping 354        84(5)
Independent Contractors and Their Employees
                                                           354 Shipping




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      354V Rights and Liabilities of Vessels and           ployees would be boarding, no life ring was easily
Owners in General                                          accessible, and captain moved vessel so far from
       354k78 Torts                                        employee that seamen would not throw him life
            354k84 Injuries to Stevedores and Other        ring. Longshore and Harbor Workers' Compensa-
Independent Contractors and Their Employees                tion Act, § 1 et seq., 33 U.S.C.A. § 901 et seq.
              354k84(5) k. Contributory or compar-
ative negligence; assumption of risk. Most Cited           [15] Shipping 354        84(5)
Cases
                                                           354 Shipping
     Finding that negligence was committed by one
                                                                  354V Rights and Liabilities of Vessels and
entity defined as “vessel” in Longshore and Harbor
                                                           Owners in General
Workers' Compensation Act (LHWCA) does not
                                                                   354k78 Torts
preclude finding that another such entity, such as a
                                                                       354k84 Injuries to Stevedores and Other
charterer, was also contributorily negligent. Long-
                                                           Independent Contractors and Their Employees
shore and Harbor Workers' Compensation Act, § 1
                                                                         354k84(5) k. Contributory or compar-
et seq., 33 U.S.C.A. § 901 et seq.
                                                           ative negligence; assumption of risk. Most Cited
[13] Shipping 354        50                                Cases
                                                                It was not erroneous for district court to assign
354 Shipping                                               no degree of fault to employee who drowned after
    354III Charters                                        failed attempt to evacuate him from fixed platform
           354k50 k. Expenditures and liabilities in-      in light of eyewitness testimony that employee
curred. Most Cited Cases                                   swung from platform properly and that vessel
     Time charterer may be held liable under Long-         moved away from employee as soon as he fell over-
shore and Harbor Workers' Compensation Act                 board.
(LHWCA) for injuries to longshoremen resulting
from vessel being put to sea in dangerous weather          [16] Federal Courts 170B         871
at order of charterer; charterer may breach duty of
                                                           170B Federal Courts
care if it forces vessel under charter out in treacher-
                                                               170BVIII Courts of Appeals
ous conditions. Longshore and Harbor Workers'
                                                                  170BVIII(K) Scope, Standards, and Extent
Compensation Act, § 1 et seq., 33 U.S.C.A. § 901
                                                                      170BVIII(K)5 Questions of Fact, Verdicts
et seq.
                                                           and Findings
[14] Shipping 354        86(2.5)                                         170Bk870 Particular Issues and Ques-
                                                           tions
354 Shipping                                                                  170Bk871 k. Damages and extent
      354V Rights and Liabilities of Vessels and           of relief. Most Cited Cases
Owners in General                                               Trial judge's assessment of damages is finding
      354k78 Torts                                         of fact and is reviewed under clearly erroneous
          354k86 Actions                                   standard.
             354k86(2.1) Evidence
                  354k86(2.5) k. Weight and suffi-         [17] Damages 115         127.3
ciency. Most Cited Cases
                                                           115 Damages
    Evidence supported assignment of 75 percent
                                                              115VII Amount Awarded
of fault in employee's death to vessel sent to at-
                                                                 115VII(A) In General
tempt evacuation of fixed platform; captain did not
                                                                     115k127.3 k. Excessive damages in gen-
post crewmembers near vessel's stern where em-




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eral. Most Cited Cases                                      longshoreman who was killed during attempted
    (Formerly 115k128)                                      evacuation of fixed platform during treacherous
      Award is disproportionate to injury sustained if      weather could be awarded damages for loss of soci-
it is so large that it shocks judicial conscience or in-    ety.
dicates passion, prejudice, corruption, bias, or an-
other improper motive.                                      [21] Death 117       88

[18] Federal Civil Procedure 170A            2377           117 Death
                                                               117III Actions for Causing Death
170A Federal Civil Procedure                                      117III(H) Damages or Compensation
   170AXVI New Trial                                                 117k80 Elements of Compensation
       170AXVI(C) Proceedings                                            117k88 k. Loss of society. Most Cited
             170Ak2377 k. Remittitur. Most Cited            Cases
Cases
    If award is disproportionate to injury, remittitur      Husband and Wife 205          209(3)
will be ordered in accordance with “maximum re-
                                                            205 Husband and Wife
covery rule,” which requires that award be reduced
                                                               205VI Actions
to maximum amount jury could properly have
                                                                      205k206 Rights of Action by Husband or
awarded.
                                                            Wife or Both
[19] Death 117        99(2)                                           205k209 For Torts
                                                                          205k209(3) k. Personal injuries to wife
117 Death                                                   resulting in loss of services or consortium, impair-
    117III Actions for Causing Death                        ment of earning capacity, or expenses. Most Cited
       117III(H) Damages or Compensation                    Cases
          117k94 Measure and Amount Awarded
             117k99 Excessive Damages                       Husband and Wife 205          209(4)
                 117k99(2) k. Suffering of deceased.
                                                            205 Husband and Wife
Most Cited Cases
                                                               205VI Actions
     Award of $1,000,000 for pain and suffering of
                                                                      205k206 Rights of Action by Husband or
mechanic who drowned during attempted evacu-
                                                            Wife or Both
ation of fixed platform in Gulf of Mexico had to be
                                                                      205k209 For Torts
reduced to $500,000; mechanic's pain and suffer-
                                                                         205k209(4) k. Personal injuries to hus-
ing, although extreme, could have lasted no longer
                                                            band. Most Cited Cases
than 25 minutes.
                                                                 Loss of society damages which relatives of in-
[20] Death 117        88                                    jured or killed longshoremen may recover are not
                                                            unequivocally limited to children who are finan-
117 Death                                                   cially dependent on deceased parent.
   117III Actions for Causing Death
      117III(H) Damages or Compensation                     [22] Death 117       88
         117k80 Elements of Compensation
                                                            117 Death
             117k88 k. Loss of society. Most Cited
                                                               117III Actions for Causing Death
Cases
                                                                  117III(H) Damages or Compensation
    In action brought under Longshore and Harbor
                                                                     117k80 Elements of Compensation
Workers' Compensation Act (LHWCA), family of
                                                                         117k88 k. Loss of society. Most Cited




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Cases                                                                208k27 k. In general. Most Cited Cases
    District court's finding that adult son of de-             (Formerly 208k3)
ceased longshoreman was financially dependent on                Indemnity agreements are valid and enforce-
the longshoreman, and thus could recover loss of            able under federal law.
society damages, was not clearly erroneous in view
of evidence that the son had dropped out of college,        [26] Indemnity 208       31(5)
was living at home, and had worked for his father,
                                                            208 Indemnity
notwithstanding the fact that he was not claimed as
                                                               208II Contractual Indemnity
a dependent on the father's income tax returns.
                                                                    208k31 Construction and Operation of Con-
[23] Death 117        32                                    tracts
                                                                        208k31(5) k. Liberal or strict construc-
117 Death                                                   tion. Most Cited Cases
   117III Actions for Causing Death                            (Formerly 208k6)
      117III(A) Right of Action and Defenses                     Indemnity provisions are not construed more
          117k32 k. Persons for whose benefit suit          generously in favor of indemnity under federal law
may be maintained. Most Cited Cases                         than under Louisiana law.

Death 117        88                                         [27] Insurance 217       2260

117 Death                                                   217 Insurance
    117III Actions for Causing Death                           217XVII Coverage--Liability Insurance
       117III(H) Damages or Compensation                          217XVII(A) In General
          117k80 Elements of Compensation                            217k2260 k. In general. Most Cited Cases
              117k88 k. Loss of society. Most Cited            (Formerly 217k433.1, 217k433(1))
Cases                                                           Damages caused by indemnitee's own negli-
     When family unit is maintained by dependence           gence are not covered by indemnity provision of in-
on single-family member, each dependent may re-             surance contract.
cover for losses including loss of society in wrong-
ful death claim under general maritime law.                 [28] Indemnity 208       33(8)

[24] Admiralty 16          1.20(2)                          208 Indemnity
                                                               208II Contractual Indemnity
16 Admiralty                                                       208k33 Particular Cases and Issues
   16I Jurisdiction                                                   208k33(8) k. Maritime cases. Most Cited
      16k1.10 What Law Governs                              Cases
         16k1.20 Effect of State Laws                          (Formerly 208k8.1(2.1))
              16k1.20(2) k. Contracts in general; in-            Time charterer was not entitled to indemnifica-
surance. Most Cited Cases                                   tion from vessel for damages owed family of long-
    As maritime contract, time charter is governed          shoreman killed during evacuation attempt where
by federal law.                                             damages were attributable to time charterer's own
                                                            negligence in ordered rescue by vessel in treacher-
[25] Indemnity 208          27                              ous weather.

208 Indemnity                                               [29] Insurance 217       2272
   208II Contractual Indemnity
      208k26 Requisites and Validity of Contracts           217 Insurance




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   217XVII Coverage--Liability Insurance                     (Formerly 208k9(2))
       217XVII(A) In General
          217k2272 k. Persons covered. Most Cited         Indemnity 208        37
Cases
                                                          208 Indemnity
   (Formerly 217k416)
                                                             208II Contractual Indemnity
    Time charterer's liability for death of long-
                                                                 208k34 Scope and Extent of Liability
shoreman was incurred as “owner” within meaning
                                                                         208k37 k. Attorney fees. Most Cited
of protection and indemnification policy issued to
                                                          Cases
vessel naming time charterer as additional insured,
                                                             (Formerly 208k9(2))
even though definition of “owner” within meaning
                                                              Time charterer was not entitled to indemnifica-
of policy was different from definition under Long-
                                                          tion from vessel for any losses suffered by time
shore and Harbor Workers' Compensation Act
                                                          charterer as result of its own negligence, including
(LHWCA), where charterer exercised right to direct
                                                          costs and attorneys' fees incurred in connection
vessel's movements.
                                                          with claims by longshoreman's widow for punitive
[30] Insurance 217        2367                            damages.

217 Insurance                                             [32] Insurance 217        2269
    217XVII Coverage--Liability Insurance
                                                          217 Insurance
       217XVII(B) Coverage for Particular Liabilit-
                                                              217XVII Coverage--Liability Insurance
ies
                                                                 217XVII(A) In General
          217k2365 Ocean Marine Liabilities
                                                                     217k2267 Insurer's Duty to Indemnify in
              217k2367 k. Scope of coverage. Most
                                                          General
Cited Cases
                                                                           217k2269 k. Insured's liability for
    (Formerly 217k416)
                                                          damages. Most Cited Cases
     Time charterer commits negligence “as owner”
                                                              (Formerly 217k512(1))
of vessel within meaning of marine protection and
                                                               Under Louisiana law, applied in absence of
indemnification policy where time charterer negli-
                                                          controlling federal rule, punitive damages were
gently exercises right to direct vessel's movement.
                                                          covered by protection and indemnification policy
[31] Indemnity 208        33(8)                           issued to vessel with time charterer listed as addi-
                                                          tional insured so that time charterer could recover
208 Indemnity                                             its costs and attorney fees expended in defending
   208II Contractual Indemnity                            claim for punitive damages brought against it by
      208k33 Particular Cases and Issues                  longshoreman's widow.
          208k33(8) k. Maritime cases. Most Cited
Cases                                                     [33] Federal Courts 170B         714
   (Formerly 208k9(2), 208k8.1(2.1))
                                                          170B Federal Courts
Indemnity 208        36                                      170BVIII Courts of Appeals
                                                                170BVIII(H) Briefs
208 Indemnity                                                           170Bk714 k. Specification of errors;
   208II Contractual Indemnity                            points and arguments. Most Cited Cases
      208k34 Scope and Extent of Liability                    Bald assertion by vessel that time charterer's at-
         208k36 k. Costs and expenses. Most Cited         torney fees were excessive was not sufficient to al-
Cases                                                     low review of award of fees; vessel had to give




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reasons and logical argument as well as state claim.                               I.
                                                                          Factual Background
*891 J. Frederick Kessenich, John F. Emmett, Em-               This case arises from the tragic death of
mett, Cobb, Waits & Kessenich, New Orleans, LA,           Theodore F. Randall, a mechanic employed by
for American Home Assur. Co. and Sea Savage, et           Chevron on its fixed platforms in the Gulf of Mex-
al.                                                       ico. On July 31, 1989, Randall was on Chevron's
                                                          West Delta Field Block 27 P-1 platform, a fixed
Randy J. Ungar, Jennifer F. Nicaud, New Orleans,
                                                          structure located off the coast of Louisiana but
LA, for Randall.
                                                          within Louisiana territorial waters. At the time, a
Neal D. Hobson, John R. Santa Cruz, Milling, Ben-         tropical storm was known to be approaching the
son, Woodward, Hillyer, Pierson & Miller, New             West Delta area.
Orleans, LA, for Chevron.
                                                               The M/V SEA SAVAGE was a 100-foot vessel
                                                          owned and operated by Sea Savage and certified by
Appeals from the United States District Court for         the United States Coast Guard as a passenger ves-
the Eastern District of Louisiana.                        sel. Chevron entered into a time charter with Sea
                                                          Savage on January 1, 1989, to obtain the services of
Before KING and JOLLY, Circuit Judges and                 the vessel in the operation of Chevron's platforms
        FN*
PARKER,     District Judge.                               in the West Delta Block 27 oil field. The time
                                                          charter provided that Sea Savage would man, oper-
        FN* Chief Judge of the Eastern District of        ate, and navigate the vessel, while Chevron would
        Texas, sitting by designation.                    assign the vessel its tasks. Sea Savage was required
                                                          to provide liability insurance naming Chevron as an
                                                          additional insured, and Sea Savage did in fact pro-
KING, Circuit Judge:                                      cure some $5,000,000 of protection and indemnity
     Theodore F. Randall, an employee of Chevron,         coverage naming Chevron as an additional insured.
U.S.A., Inc. (“Chevron”), drowned after unsuccess-
fully attempting a swing rope transfer from a fixed            At 2:30 a.m. on July 31, 1989, the SEA SAV-
platform in the Gulf of Mexico to the M/V SEA             AGE set out on its regularly scheduled cargo run in
SAVAGE. Randall's widow, Barbara Randall,                 the West Delta field. Captain Dalton Parker was in
brought suit individually, on behalf of Randall's es-     command of the vessel. By 10:06 a.m., the tropical
tate, and on behalf of their children against Chev-       storm had been upgraded to a hurricane, and Chev-
ron and Sea Savage, Inc. (“Sea Savage”). The mat-         ron's operations manager ordered an evacuation of
ter was tried to the court, and the court entered         the West Delta field. Before proceeding to the *892
judgment against the defendants. This appeal fol-         P-1 platform, the SEA SAVAGE carried personnel
       FN1                                                to other platforms to secure them in preparation for
lowed.
                                                          evacuation. Several swing rope transfers to and
        FN1. After the parties filed their briefs, the    from these platforms were safely accomplished. As
        Randalls settled with Sea Savage and its          weather conditions deteriorated, it became unsafe to
        underwriters and assigned their claims to         make further swing rope transfers to and from the
        them. Thus, Sea Savage and its under-             smaller satellite platforms. Captain Parker testified
        writers have taken the place of the Ran-          that he requested to be released from further tasks
        dalls on this appeal. As will be seen,            in the field because he thought his mission had been
        however, they have not adopted all the leg-       completed. Jim Howell, the area foreman in the
        al positions taken by the Randalls at trial.      West Delta field, asked Captain Parker to proceed




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to West Delta Field Block 27 to provide any neces-         tate of her deceased husband and their two children,
sary assistance in the evacuation.                         commenced this action in the United States District
                                                           Court for the Eastern District of Louisiana seeking
     The SEA SAVAGE arrived at the P-1 platform            wrongful death and survival damages under the
at approximately 10:45 a.m. Witnesses estimated            Jones Act, 46 U.S.C.App. § 688, and the general
that the seas were between six and eight feet at the       maritime law against Chevron and the SEA SAV-
time and that the winds were some 35 miles per             AGE. Sea Savage filed a complaint for exoneration
hour. Three workers, including Randall, were wait-         from or limitation of liability, claiming it was en-
ing to be evacuated. Captain Parker backed the             titled to limit its liability to the value of the SEA
SEA SAVAGE next to the platform and, following             SAVAGE and her pending freight. On January 25,
standard procedures, held the stern at an angle to         1990, this matter was consolidated with the Randall
the platform. Randall was the first to attempt the         lawsuit for trial. Chevron answered and filed a
swing transfer. He grasped the swing rope and              cross-claim against Sea Savage seeking indemnific-
swung to the deck of the vessel. What happened             ation, costs, and attorneys' fees in connection with
next is not clear, but it appears that Randall landed      the Randall lawsuit. Chevron also filed a third-party
on his feet as the vessel rose with a swell, causing       complaint against the underwriters supplying the
the swing rope to go slack. Randall continued to           insurance coverage to Chevron as an additional in-
hold onto the rope, and as the vessel fell with the        sured pursuant to Chevron's time charter with Sea
waves the rope went taut. Randall was then pulled          Savage.
back off the vessel. Randall lost his grip on the rope
and fell into the water.                                       On March 30, 1990, Chevron moved for sum-
                                                           mary judgment on plaintiff's Jones Act and punitive
     Deckhand Paul Nash witnessed the episode and          damages claims. By minute entry dated July 26,
immediately ran some fifty feet to the rear of the         1990, the district court dismissed the Jones Act
SEA SAVAGE's pilothouse to retrieve the life ring.         claims, finding that Randall could not be con-
Captain Parker was aware of Randall's fall and im-         sidered a Jones Act seaman because he was never
mediately put the vessel into gear, moving the ves-        assigned to any vessel and worked exclusively on
sel forward and away from Randall. He testified            fixed platforms. The court did not dismiss
that moving towards Randall would have risked              plaintiff's general maritime or punitive damages
sucking Randall into the propellers or crushing him        claims.
against the platform. Randall, a strong swimmer,
managed to swim to one of the platform's legs. He               On March 26, 1991, Chevron moved for partial
clung to the leg as best he could in the rough water       summary judgment, arguing that the court should
for some twenty-five minutes. Efforts to save Ran-         dismiss all of the plaintiff's claims except for those
dall with a life ring thrown from the SEA SAVAGE           claims stated under § 905(b) of the Longshore and
were unsuccessful. At last Randall let go of the           Harbor Workers' Compensation Act (“LHWCA”),
platform, slumped over, and drowned. He floated            33 U.S.C. § 901 et seq., and/or the exclusive rem-
out from under the platform and was recovered by           edy provisions of the Louisiana Workers' *893
deckhand Nash. His body was lacerated, apparently          Compensation Statute. Barbara Randall and Sea
from being thrown against the barnacle-encrusted           Savage opposed Chevron's motion. Following oral
leg of the platform by the waves. The remaining            argument on October 30, 1991, the district court
Chevron employees were evacuated by helicopter.            found “that Mr. Randall was a longshoreman or
                                                           harbor worker within the meaning of the Longshore
                Procedural History                                                                      FN2
                                                           and Harbor Workers' Compensation Act.”             The
    On October 2, 1989, Barbara Randall, both in-          district court also granted the underwriters' motions
dividually and as personal representative of the es-




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to dismiss Chevron's claims against them prior to          court awarded $300,000 to Mrs. Randall, $100,000
trial on the ground that the insurance policies nam-       to Randall's adult son Rod Randall, and $150,000 to
ing Chevron as an additional insured did not cover         Randall's daughter Holly Randall. The court awar-
the claims being asserted against Chevron.                 ded $1,000,000 for Randall's pain and suffering and
                                                           $3,897 for funeral expenses. The claim for punitive
         FN2. Strangely, the pre-trial order filed on      damages was denied.
         November 5, 1991, listed as a contested is-
         sue of law “[w]hether Louisiana, General               The district court took under advisement Chev-
         Maritime and/or LSHWA Law applies”                ron's claim against Sea Savage for contractual in-
         (“LSHWA” being another acronym occa-              demnity. By minute entry filed February 19, 1992,
         sionally used in lieu of “LHWCA”).                the district court ruled that Chevron was entitled to
         However, after judgment was entered in            contractual indemnity from Sea Savage under the
         favor of Mrs. Randall, the district court re-     terms of the time charter. This decision is reported
         iterated that it had “previously held that        as Randall v. Chevron U.S.A., Inc., 788 F.Supp.
         Mr. Randall was covered by the Longshore          1391 (E.D.La.1992). The district court based its de-
         and Harbor Worker's Compensation Act.”            cision on the holding that Chevron's liability arose
         Randall v. Chevron U.S.A., Inc., 788              in its capacity as time charterer of the vessel, thus
         F.Supp. 1391, 1397 (E.D.La.1992).                 coming within the indemnity provision in the time
                                                           charter. Id. at 1395. Chevron had also moved post-
     The bench trial commenced on November 12,             trial for reconsideration of the dismissal of its
1991. At the conclusion of the trial on November           claims against the underwriters for insurance cover-
14, 1991, the district court rendered oral reasons for     age, and on March 16, 1992, the district court ruled
judgment from the bench. The court found Sea Sav-          that the plaintiff's claims against Chevron did come
age and the crew of the SEA SAVAGE 75% liable              within the insurance coverage provided to Chevron
in causing the accident. Among other things, the           by the underwriters. This decision is reported as
district court found that Sea Savage was negligent         Randall v. Chevron U.S.A., Inc., 788 F.Supp. 1398
in failing to train the captain and crew of the SEA        (E.D.La.1992).
SAVAGE properly in lifesaving procedures, in fail-
ing to place a life ring near the jump station of the          On March 19, 1992, judgment was entered in
vessel, and for the failure of the SEA SAVAGE's            favor of Chevron for indemnity and insurance cov-
captain and crew to follow accepted rescue proced-         erage. The district judge referred the issue of the
ures after Randall fell into the water. The court fur-     appropriate amount of costs and attorneys' fees to
ther held that Sea Savage was not entitled to its re-      award Chevron to a magistrate judge. On July 7,
quested limitation of liability because of its failure     1992, the district court found that the fees and ex-
to properly train the captain and crew of the vessel,      penses incurred by Chevron in defending the
to require drills in rescue procedures, and to ensure      plaintiff's claims were fair and reasonable and
that the captain was competent. The court held             awarded reimbursement for those fees. The court
Chevron 25% liable for directing the vessel to re-         denied reimbursement, however, for those fees and
main in and encounter the treacherous weather con-         expenses spent in defense of the punitive damages
ditions that then existed.                                 claim.

    With respect to damages, the district court                 After the notices of appeal and briefs were
made the following awards to the Randalls: $66,725         filed, Sea Savage and its various insurance under-
for past lost wages; $309,177 for lost future sup-         writers entered into a settlement agreement with the
port; and $30,395 for loss of personal services. Un-       plaintiff on April 22, 1993, which included a com-
der the heading of “loss of society” damages, the          plete assignment of all plaintiff's claims in this mat-




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ter to Sea Savage and its underwriters. Thus, Sea          that the district court erred and that Randall was not
Savage*894 and its underwriters now stand in the           covered by the LHWCA. Mrs. Randall, before she
                                         FN3
place of Mrs. Randall vis-a-vis Chevron.                   settled out of this case, argued the opposite posi-
                                                                 FN4
                                                           tion.
         FN3. According to Sea Savage, the only is-
         sue mooted by the settlement is Sea Sav-                   FN4. The threshold determination of
         age's claim before the district court that it              whether Randall was covered by the LHW-
         was entitled to limit its liability as vessel              CA may have an impact on the outcome of
         owner.                                                     several other issues in this case. The avail-
                                                                    ability of loss of society damages may de-
                          II.                                       pend on whether or not Randall was a
       Standard of Review and Choice of Law                         longshoreman. Sea Savage, although it
     [1][2] This court accepts the factual findings of              now stands in Mrs. Randall's shoes for our
the district judge unless they are clearly erroneous.               purposes, has chosen to continue to argue
However, we may review de novo a district court's                   against LHWCA coverage in the apparent
conclusions of law. Halferty v. Pulse Drug Co., 864                 belief that reversal on this issue would ne-
F.2d 1185, 1188 (5th Cir.1989). Interpretation of                   cessitate a remand for redetermination of
the indemnity clause that is involved in this action                its and Chevron's comparative negligence.
presents a matter of law that is reviewable de novo                 We note, however, that the district court
on appeal. Smith v. Tenneco Oil Co., 803 F.2d                       apportioned 100% of the liability between
1386, 1388 (5th Cir.1986) (citing Kemp v. Gulf Oil                  Chevron in its capacity as “vessel” and Sea
Corp., 745 F.2d 921, 924 (5th Cir.1984)). District                  Savage, suggesting that Chevron was not
court interpretations of insurance policies are also                liable in any other capacity and that no re-
reviewed de novo. Harbor Ins. Co. v. Urban Con-                     apportionment of negligence would be ne-
str. Co., 990 F.2d 195, 199 (5th Cir.1993).                         cessary. Chevron argues against LHWCA
                                                                    coverage in the apparent belief that Louisi-
     [3][4] Construction of maritime contracts is
                                                                    ana workers' compensation law would
governed by federal maritime law. Theriot v. Bay
                                                                    provide the exclusive remedy to the Ran-
Drilling Corp., 783 F.2d 527, 538 (5th Cir.1986).
                                                                    dalls should we decide that the LHWCA
Although federal law governs the interpretation of
                                                                    does not apply. But see Thibodaux v. At-
marine insurance contracts, we apply the law of the
                                                                    lantic Richfield Co., 580 F.2d 841, 846-47
state where the marine insurance contract was is-
                                                                    (5th Cir.1978), cert. denied, 442 U.S. 909,
sued and delivered if there is no federal law, legis-
                                                                    99 S.Ct. 2820, 61 L.Ed.2d 274 (1979). We
lative or judicial, relating to the question. Elevating
                                                                    express no view on the merits of these
Boats, Inc. v. Gulf Coast Marine, Inc., 766 F.2d
                                                                    various arguments.
195, 198 (5th Cir.1985).
                                                                [5][6] A brief overview of the LHWCA is in
                        III.
                                                           order. The coverage section of the LHWCA
 A. Was Randall a “maritime employee” within the
                                                           provides that compensation shall be payable upon
              meaning of the LHWCA?
                                                           the disability or death of an employee “if the disab-
     The first issue presented for our decision is
                                                           ility or death results from an injury occurring on the
whether the district court correctly held that Ran-
                                                           navigable waters of the United States (including
dall was a “maritime employee” and thus that his
                                                           any adjoining pier, wharf, dry dock, terminal,
widow was entitled to proceed under the LHWCA
                                                           building way, marine railway, or other adjoining
rather than under Louisiana's workers' compensa-
                                                           area customarily used by an employer in loading,
tion statute. Both Chevron and Sea Savage argue




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unloading, repairing, dismantling, or building a           F.2d 1332, 1339 (5th Cir.1987)), cert. denied, ---
vessel).” 33 U.S.C. § 903(a). With certain exclu-          U.S. ----, 112 S.Ct. 2274, 112 S.Ct. 2274, 119
sions not relevant to the instant case, the term           L.Ed.2d 201 (1992).
“employee” is defined as “any person engaged in
maritime employment, including any longshoreman                 [8] The issue of whether Randall's accident is
or other person engaged in longshoring operations,         one covered by the LHWCA turns on whether he
and any harbor-worker including a ship repairman,          satisfies the two-pronged test set forth in that stat-
shipbuilder, and ship-breaker.” Id. § 902(3). As a         ute. First, his injury must have occurred at a
general rule, the LHWCA imposes liability for be-          covered location or “situs.” Herb's Welding, Inc. v.
nefits payable to an injured worker upon the em-           Gray, 470 U.S. 414, 415-16, 105 S.Ct. 1421, 1423,
ployer. Id. § 904(a). This is the exclusive liability      84 L.Ed.2d 406 (1985). Second, he must meet the
of the employer qua employer, so the employer is           “status” test of being a person engaged in
generally immune from the injured worker's poten-          “maritime employment,” a term not defined by the
tial tort suits. Id. § 905(a). The specific benefits to    LHWCA. Id. The “status” test is the source of diffi-
which the injured longshoreman is entitled are             culty in the instant case.
defined in the LHWCA. Id. §§ 907-09.
                                                                Our analysis of the “status” issue begins with
     *895 [7] Prior to 1972, a worker covered by the       the Supreme Court's decision in Northeast Marine
LHWCA who was injured while loading or unload-             Terminal Co. v. Caputo, 432 U.S. 249, 97 S.Ct.
ing a ship was entitled both to compensation pay-          2348, 53 L.Ed.2d 320 (1977). In that case, plaintiff
ments and to judgment against the shipowner if the         Carmelo Blundo was employed as a “checker,” or
injury was caused by the ship's unseaworthiness or         one responsible for checking and recording cargo as
negligence. Scindia Steam Navigation Co. v. De             it was loaded onto or unloaded from vessels, barges
Los Santos, 451 U.S. 156, 164, 101 S.Ct. 1614,             or containers. Id. at 252-53, 97 S.Ct. at 2351-52.
1620, 68 L.Ed.2d 1 (1981). Section 905(b) of the           While working on a pier, Blundo slipped on some
LHWCA, added in the 1972 Amendments to that                ice and was injured. Id. at 253, 97 S.Ct. at 2352.
statute, abolishes the injured longshoreman's unsea-       Plaintiff Ralph Caputo was a member of a long-
worthiness claim but preserves his right to recover        shoring “gang,” and he was injured while loading a
for the “negligence of a vessel.” 33 U.S.C. § 905(b)       truck with cargo that had been discharged from a
; Scindia, 451 U.S. at 165, 101 S.Ct. at 1621; May         vessel. Id. at 254-55. The Court held that both
v. Transworld Drilling Co., 786 F.2d 1261, 1264            plaintiffs satisfied the “status” test under the LHW-
(5th Cir.), cert. denied, 479 U.S. 854, 107 S.Ct.          CA, Blundo because the task was “an integral part
190, 93 L.Ed.2d 123 (1986). The term “vessel” in           of unloading process” and Caputo because “he was
this context includes the vessel's owner, owner pro        injured in the old-fashioned process of putting
hac vice, agent, operator, charter or bare boat char-      goods already unloaded from a ship or container in-
terer, master, officer, or crew member. Id. §              to a delivery truck.” Id. at 256, 271-72, 103 S.Ct. at
902(21). Thus, “[w]hen an employer acts in a dual          2353, 2361. Thus, as it would in future cases, the
capacity as vessel owner, the entity retains its im-       Court focused on the nature of the workers' em-
munity for acts taken in its capacity as an employer,      ployment and its connection with the loading and
but may still be sued ‘qua vessel’ for acts of vessel      unloading of vessels as a key issue in deciding
negligence.” Levene v. Pintail Enters., Inc., 943          whether the “status” test was met.
F.2d 528, 531 (5th Cir.1991) (citing Jones &
                                                               The next case in which the Supreme Court ad-
Laughlin Steel Corp. v. Pfeifer, 462 U.S. 523, 532,
                                                           dressed the “status” test was Director, Office of
103 S.Ct. 2541, 2548, 76 L.Ed.2d 768 (1983); Kerr-
                                                           Workers' Compensation Programs v. Perini N.
McGee Corp. v. Ma-Ju Marine Servs., Inc., 830
                                                           River Assocs., 459 U.S. 297, 103 S.Ct. 634, 74




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L.Ed.2d 465 (1983). The injured worker in Perini,          shore platforms are legally equivalent to islands, id.
Raymond Churchill, was employed in the construc-           at 422 & n. 6, 105 S.Ct. at 1426, and thus Gray was
tion of a sewage treatment plant extending over the        not “injured on navigable waters.” Id. at 424-25 n.
Hudson River. Id. at 300, 103 S.Ct. at 638. His job        10, 105 S.Ct. at 1428 n. 10. Gray was thus required
was to supervise operations on a cargo barge, and          to meet a different test, adumbrated by Caputo,
he was injured while standing on the deck of the           based on whether Gray's employment had some
barge. Id. The Court held that Churchill, as an em-        connection with the loading, unloading, repair, or
ployee injured upon navigable waters in the course         construction of ships. Id. at 423-24, 105 S.Ct. at
of his employment, could meet the “status” test            1427-28. As the Court recounted at length,
without showing that his employment possessed a
direct or substantial relation to navigation or com-           Gray was a welder. His work had nothing to do
merce. Id. at 318-19, 103 S.Ct. at 647-48. Although          with the loading or unloading process, nor is
the Court expressly recognized that “the status re-          there any indication that he was even employed
quirement is occupational and the situs test is geo-         in the maintenance of equipment used in such
graphic,” id. at 324 n. 32, 103 S.Ct. at 651 n. 32, it       tasks.... He built and maintained pipelines and the
went on to hold that “when a worker is injured on            platforms themselves. There is nothing inherently
the actual navigable waters in the course of his em-         maritime about those tasks. They are also per-
ployment on those waters, he satisfies the status re-        formed on land, and their nature is not signific-
quirement,” assuming that the other requirements of          antly altered by the marine environment, particu-
the LHWCA are met. Id. at 324, 103 S.Ct. at 651.             larly since the exploration and development of
The Court emphasized that such workers are                   the Continental Shelf are not themselves mari-
“engaged in maritime*896 employment” both be-                time commerce.
cause they are injured in historically maritime loc-
                                                               Id. at 425, 105 S.Ct. at 1428 (footnote omitted).
ales and because they are required to perform em-
                                                           Because Gray could not meet the “status” test, the
ployment duties upon navigable waters. Id. Finally,
                                                           Court held that Gray was excluded from LHWCA
the Court expressed no opinion on the issue of
                                                           coverage without addressing the “situs” test. Id. at
“whether such coverage extends to a worker injured
                                                           427, 105 S.Ct. at 1429. Again the Court expressly
while transiently or fortuitously upon actual navig-
                                                           reserved the issue of whether the LHWCA applies
able waters, or to a land-based worker injured on
                                                           to a worker injured while “transiently or fortuit-
land who then falls into actual navigable waters.”
                                                           ously” upon navigable waters, although it noted in
Id. at 324 n. 34, 103 S.Ct. at 651 n. 34. Under Peri-
                                                           passing a “substantial difference between a worker
ni, then, a special “status” test applies to workers
                                                           performing a set of tasks requiring him to be both
who are injured while upon actual navigable wa-
                                                           on and off navigable waters, and a worker whose
ters: such a worker satisfies the “status” test simply
                                                           job is entirely land-based but who takes a boat to
by showing that he was injured on actual navigable
                                                           work.” Id. at 427 n. 13, 105 S.Ct. at 1429 n. 13.
waters in the course of his employment on those
waters. Id. at 324, 103 S.Ct. at 651.                          The instant case falls within that grey area left
                                                           open for later decision by the Supreme Court in
     The Court again considered the contours of the
                                                           Perini and Herb's Welding. Chevron and Sea Sav-
“status” test in Herb's Welding, in which a welder
                                                           age argue that the circumstances of Randall's death
employed on a fixed offshore drilling platform was
                                                           place him outside the LHWCA's ambit under
injured on such a platform and sought LHWCA be-
                                                           Brockington v. Certified Elec., Inc., 903 F.2d 1523
nefits. Herb's Welding, 470 U.S. at 416, 105 S.Ct.
                                                           (11th Cir.1990), cert. denied, 498 U.S. 1026, 111
at 1423. The Court held that the welder, Robert
                                                           S.Ct. 676, 112 L.Ed.2d 668 (1991), and West v.
Gray, was outside the Perini rule because fixed off-
                                                           Chevron U.S.A., Inc., 615 F.Supp. 377




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(E.D.La.1985). Mrs. Randall, on the other hand, ar-       stating,
gued that this court's decision in Fontenot v. AWI,
Inc., 923 F.2d 1127 (5th Cir.1991), compels the             [I]f the employee was injured while on actual
conclusion that Randall was covered by the LHW-             navigable waters, in the course of his employ-
CA. We turn to the Fontenot case first, as we are           ment, then he is engaged in maritime employ-
constrained to follow indistinguishable decisions by        ment and satisfies the status test under Perini....
other panels of our court absent an intervening pre-
                                                              In this case, Fontenot injured himself while on
cedent by our court sitting en banc or by the Su-
                                                            the crewboat. The crewboat was docked in actual
preme Court. Campbell v. Sonat Offshore Drilling,
                                                            navigable waters. Therefore, under [Perini ],
Inc., 979 F.2d 1115, 1121 n. 8 (5th Cir.1992).
                                                            Fontenot, at the time of his injury, satisfied the
     In Fontenot, the plaintiff, Joseph Fontenot, was       status requirement of the LHWCA.
a “wireline operator” employed by an oil field ser-
                                                               Id. at 1130 (emphasis added). We have some
vice company as a “pipe recovery specialist.”
                                                          difficulty with this analysis, specifically in the
Fontenot, 923 F.2d at 1128. He testified that he
                                                          Fontenot court's conspicuous omission of the “in
spent roughly equal amounts of time working on
                                                          the course of his employment” element of Perini in
shore, on fixed platforms, and on oil exploration
                                                          its application of Perini to Fontenot's case. Part of
and production vessels. Id. Returning to shore from
                                                          the difficulty, however, stems from the language of
an inland barge rig located in Louisiana state wa-
                                                          Perini itself. In one passage in Perini, the Supreme
ters, Fontenot was injured while unloading his
                                                          Court strongly suggested that even workers who are
equipment from the deck of a crewboat onto the
                                                          injured on navigable waters are required to show
dock. Id. The parties agreed that Fontenot satisfied
                                                          that “they are required to perform their employment
the “situs” test for LHWCA coverage, because he
                                                          duties upon navigable waters.” Perini, 459 U.S. at
was on the crewboat and thus the navigable waters
                                                          324, 103 S.Ct. at 651 (footnote omitted); see also
of *897 the United States when he was injured, but
                                                          Herb's Welding, 470 U.S. at 424 n. 10, 105 S.Ct. at
Fontenot, desiring to pursue claims potentially
                                                          1428 n. 10 (pointing out that Perini was “carefully
more favorable than those available under the LH-
                                                          limited” to coverage of an employee injured while
WCA, argued that he did not satisfy the “status”
                                                          performing his job upon actual navigable waters).
prong of the Herb's Welding test. Id. at 1129. The
                                                          Yet, at the same time, the Perini Court insisted that
court held that Fontenot was a covered employee,
                                                          the addition of the “status” test to the LHWCA by
applying the Perini test rather than the Herb's
                                                          the 1972 Amendments did not diminish the LHW-
Welding test because Fontenot was injured while
                                                          CA's traditionally broad coverage of workers in-
upon actual navigable waters in the course of his
                                                          jured on actual navigable waters. Perini, 459 U.S.
employment. Id. at 1133. Mrs. Randall argued that
                                                          at 315, 323-24, 103 S.Ct. at 646, 650-51; see also
Fontenot is squarely on point, and that her hus-
                                                          Grant Gilmore & Charles L. Black, Jr., The Law of
band's accident was covered by the LHWCA. Chev-
                                                          Admiralty 428 (2d ed. 1975) (observing that, at
ron argues that Fontenot is distinguishable.
                                                          least before the 1972 Amendments, “[w]orkers who
    [9] We believe that Fontenot answers, although        are not seamen but who nevertheless suffer injury
only implicitly, the question left open in Perini and     on navigable waters are no doubt (or so the courts
Herb's Welding in favor of LHWCA coverage for             have been willing to assume) engaged in ‘maritime
the worker injured while transiently or fortuitously      employment’ ”).
on actual navigable waters. The Fontenot court re-
                                                              Had the Fontenot court relied on the fact that
lied on Perini in reaching the conclusion that
                                                          Fontenot was employed on vessels, i.e., on actual
Fontenot came within the ambit of the LHWCA,
                                                          navigable waters, some thirty percent of the time as




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well as on the day of his accident, its holding would      the 1972 Amendments to the LHWCA, Fontenot
be within the Perini rule. Instead, the court chose to     satisfied both the status and situs tests.”). The court
rely solely on the situs of Fontenot's injury:             thus went beyond a mere application of Perini and
                                                           decided the question left open in that case and in
  The Court [in Herb's Welding ] did not address           Herb's Welding: in this circuit, workers injured
  the status of an oil field employee injured while        while transiently or fortuitously upon actual navig-
  in transit on navigable waterways, or one who            able waters are covered by the LHWCA. We are
  spent a substantial period of his time working on        bound to follow the Fontenot court's determination.
  drilling vessels, rather than fixed platforms.           FN5

    This case presents both issues. Fontenot injured                FN5. Fontenot 's interpretation of the LH-
  himself while on a vessel in navigable waters.                    WCA conflicts with that of the Eleventh
  And Fontenot spent thirty percent of his time                     Circuit. In Brockington v. Certified Elec.,
  working on oil production vessels, and was re-                    Inc., 903 F.2d 1523, 1528 (11th Cir.1990),
  turning from a job on such a vessel when he in-                   cert. denied, 498 U.S. 1026, 111 S.Ct. 676,
  jured himself. We hold that the first fact satisfies              112 L.Ed.2d 668 (1991), the court held that
  the status test for coverage under the LHWCA,                     an electrician whose employment was en-
  and address but leave open the question of wheth-                 tirely landbased but who was injured while
  er the second would satisfy the status test.                      riding in a motorboat to an island jobsite
                                                                    was not covered by the LHWCA. The
    Id. at 1130 (emphasis added). We understand
                                                                    court's remark that Brockington's “only
“the first fact” to be the fact that “Fontenot injured
                                                                    connection with the water was the fact that
himself while on a vessel in navigable waters.” Id.
                                                                    he happened to be traveling over it incid-
By holding that the occurrence of an injury on actu-
                                                                    ental to land-based employment,” id., is
al navigable waters satisfies the “status” test, the
                                                                    equally true of Randall. Nevertheless,
Fontenot court answered the question of whether
                                                                    Fontenot remains binding precedent in this
LHWCA coverage extends to workers injured while
                                                                    circuit and must be followed unless
transiently or fortuitously upon actual navigable
                                                                    changed by a decision of this court en banc
waters in the affirmative.
                                                                    or the United States Supreme Court, or by
     *898 Chevron's reliance on the concurring                      future amendments to the LHWCA itself.
opinion in Fontenot is understandable but ulti-
                                                                [10] Applying Fontenot to the instant case, we
mately futile. The concurring judge asserted that
                                                           think it beyond cavil that Randall was injured “on
the court was not reaching the case “of injury in
                                                           navigable waters” within the meaning of Perini and
transit on navigable waters of a worker on fixed
                                                           the LHWCA. The accident occurred during Ran-
platforms.” Id. at 1134 (Higginbotham, J., concur-
                                                           dall's attempt to return to shore. The instant case is
ring). The concurrence also suggests that the court's
                                                           thus on all fours with Fontenot, and we must there-
holding is based in part on Fontenot's employment
                                                           fore conclude that Randall was covered by the LH-
on vessels and the fact that he was injured while re-
                                                           WCA.
turning from a vessel. Id. (Higginbotham, J., con-
curring). We cannot agree. The passages from the                       B. Apportionment of Fault
court's opinion quoted supra make it clear that the                   1. Time Charterer Liability
court relied solely on the fact that Fontenot was in-          [11] We next consider the district court's ap-
jured on navigable waters in finding LHWCA cov-            portionment of liability between Chevron and Sea
erage. See also id. at 1132 (“Because he was on            Savage. The court apportioned fault because, under
‘navigable waters', as that term was defined prior to      § 905(b) of the LHWCA, a longshoreman injured




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by the negligence of a “vessel” is entitled to bring       of workers' compensation without depriving them
an action against that vessel. The court determined        of the right to be compensated for their injuries
that Chevron constituted a “vessel” because the            caused by the negligence of third parties or elimin-
term “vessel” is defined by the LHWCA to include           ating the incentive for third parties to provide long-
not only the vessel's owner but also a “charter or         shoremen with a safe place to work. Perez v. Arya
bare boat charterer.” 33 U.S.C. § 902(21). Thus a          Nat'l Shipping Line, Ltd., 468 F.Supp. 799, 802
time charterer may be liable under § 905(b) if the         (S.D.N.Y.1979), aff'd mem., 622 F.2d 575 (2d
cause of the harm is “within the charterer's tradi-        Cir.1980), aff'd sub nom. Rodriguez v. Compass
tional sphere of control and responsibility or has         Shipping Co., 451 U.S. 596, 101 S.Ct. 1945, 68
been transferred thereto by the clear language of the      L.Ed.2d 472 (1981). It is also beyond dispute that
charter agreement.” Kerr-McGee Corp. v. Ma-Ju              time charterers are among those third parties in-
Marine Servs., Inc., 830 F.2d 1332, 1343 (5th              cluded in the definition, although they are not spe-
Cir.1987); see also Helaire v. Mobil Oil Co., 709          cifically mentioned. Kerr-McGee Corp., 830 F.2d
F.2d 1031, 1041-42 (5th Cir.1983) (holding that a          at 1338.
time charterer could be liable under § 905(b) of the
LHWCA for ordering a worker to unload equip-                    Chevron argues that there was no evidence that
ment from a vessel to a platform during rough              it was negligent in its capacity as time charterer of
weather); cf. 2 Alex L. Parks, The Law and Prac-           the SEA SAVAGE. In his oral findings, the district
tice of Marine Insurance and Average 884-85                judge found Chevron negligent for “direct[ing] the
(1987) (“[The body of law governing time charterer         vessel to remain in, and to encounter the treacher-
liability in § 905(b) cases] is just now developing;       ous weather conditions that existed in the Gulf.”
it is confusing and it is inconclusive.”).                 Chevron argues that there is no duty on the part of a
                                                           time charterer to determine whether the missions it
    [12] We begin by noting that the LHWCA casts           assigns can be accomplished safely. In Chevron's
a wide net in defining parties potentially liable in       view, this duty rests solely with the vessel captain
the event of injury caused by vessel negligence.           unless specific contractual provisions shift duties
The statute provides that                                  onto the time charterer. Sea Savage takes the op-
                                                           posite position, arguing that the district court cor-
    [U]nless the context requires otherwise, the           rectly held that a time charterer may be held liable
  term “vessel” means any vessel upon which or in          for damages that result from directing a vessel to
  connection with which any person entitled to be-         encounter dangerous natural conditions.
  nefits under this chapter suffers injury or death
  arising out of or in the course of his employment,            Sea Savage cites several cases in its favor, be-
  and said vessel's owner, owner pro hac vice,             ginning with the Helaire case cited above. In that
  agent, operator, charter or bare boat charterer,         case, Edmond Helaire was employed by Mobil as a
  master, officer, or crew member.                         roustabout and was ordered to unload casing onto a
                                                           fixed platform from a supply vessel during rough
     33 U.S.C. § 902(21). Nothing in the statute           weather. Helaire, 709 F.2d at 1032-33. He slipped
suggests that a finding that negligence was commit-        and injured his knee, id. at 1034, and sued both Mo-
ted by one entity defined as a “vessel” in § 902(21),      bil, which was the time charterer of the vessel, and
such as the vessel's owner, precludes*899 a finding        the vessel owner under the LHWCA. In a jury trial,
that another such entity, such as a charterer, was         Mobil was found 100% liable and the vessel owner
also contributorily negligent. Indeed, holding each        was exonerated, and the district court granted Mo-
such entity liable in proportion to its degree of fault    bil recovery from the vessel owner's underwriters
advances the purpose underlying the LHWCA,                 pursuant to protection and indemnity insurance that
which is to provide longshoremen with the benefits




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named Mobil as an additional insured. Id. Mobil            on Union Oil's orders, and he recovered against
and the underwriters then engaged in a dispute over        M.O.N.T. under a claim of Jones Act negligence.
whether Mobil's negligence had been committed in           Id. at 577-78. M.O.N.T. then sued Union Oil, and
its capacity as platform owner or as time charterer.       the district court dismissed. We affirmed, first not-
Id. at 1041. We held that the district court properly      ing that the time charter contained the usual under-
predicated Mobil's negligence on its actions as time       standing that the vessel captain could refuse to
charterer, based on Mobil's acts or omissions in           carry out tasks without breaching the charter if his
permitting the unloading of cargo from the vessel to       refusal was based on a good faith belief that the
continue “despite the obvious danger created by the        task was unsafe. Id. at 578. Thus, we held that, if
poor weather conditions.” Id. at 1042.                     Union Oil's order was at all negligent, it could not
                                                           be “active or primary negligence relative to
     There are other precedents for the district           M.O.N.T.'s negligence in bringing about
court's assignment of fault to Chevron as time char-       [plaintiff's] injuries.” Id. at 581-82. Thus, M.O.N.T.
terer. In Graham v. Milky Way Barge, Inc., 824             was not entitled to tort indemnity from Union Oil.
F.2d 376, 378 (5th Cir.1987), Chevron had time             Id. at 582.
chartered the M/V STAR II to service equipment in
the Gulf. Chevron dispatched the STAR II into the               Chevron also directs our attention to Smith v.
Gulf at a time when it was aware of a forecast of          Southern Gulf Marine Co. No. 2, Inc., 791 F.2d 416
dangerous weather conditions, and the vessel cap-          (5th Cir.1986). The time charterer in that case
sized, killing one and injuring three others. Id. at       ordered a vessel to deliver personnel to a platform
387, 378. The district court found that Chevron's          in rough seas. Id. at 418. Just before leaving the
negligence as time charterer in failing to inform the      vessel, the plaintiff, Ronald Smith, slipped and fell.
vessel's captain of the weather forecast and in dis-       Id. He sued several parties, including the time char-
patching and failing to recall the vessel was 30%          terer of the boat (his employer, McMoran Offshore
responsible for the injuries and losses sustained. Id.     Exploration Co.), and the trial court ruled in favor
at 387. We affirmed this finding. Id. Likewise, in In      of McMoran. Id. at 419. We affirmed, holding that
re P & E Boat Rentals, Inc., 872 F.2d 642, 646-47          Smith could not recover from McMoran on the the-
(5th Cir.1989), in which two vessels collided, we          ory that McMoran was responsible for any injuries
affirmed a finding that Chevron as time charterer          occurring as a consequence of its decision to trans-
was liable for its negligence in ordering the captain      port workers by crewboat, because the ultimate de-
of one vessel to operate his vessel at high speeds in      cision about whether to proceed rested with the
heavy fog. See also Kerr-McGee Corp., 830 F.2d at          crewboat captain. Id. However, we also agreed with
1341 (“The time-charterer directs where and when           the trial court that “the decision to proceed by
the vessel will travel, so if it forces it out in hur-     crewboat was not unreasonable.” Id.
ricane weather or similarly treacherous conditions,
it may be liable under section [905(b) of the LHW-              [13] The trend of our more recent decisions, as
CA].”).                                                    demonstrated by Sea Savage, plainly favors impos-
                                                           ing a duty of care on a time charterer who orders
     Chevron counters by referring this court to our       the vessel he has hired to put to sea in dangerous
decision in M.O.N.T. Boat Rental Servs., Inc. v.           weather. We distinguished M.O.N.T. Boat Rental in
Union Oil Co., 613 F.2d 576 (5th Cir.1980). In that        Graham, noting that M.O.N.T. Boat Rental
case, Union Oil chartered the vessel BOBBY O               “implicitly recognizes that there is a distinction
from M.O.N.T. to transport personnel and supplies          between a time charterer's potential liability under
off the coast of Nicaragua. Id. at 577. A crew *900        the time charter and independent tort liability which
member was injured after the BOBBY O put to sea            is not governed by the time charter.” Graham, 824




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F.2d at 388. Additionally, the concepts of active          platform personnel would be boarding, despite the
and passive negligence have fallen by the wayside          rough weather conditions. No life ring was easily
with the advance of the comparative negligence             accessible at the stern of the vessel, and to retrieve
doctrine. See Hardy v. Gulf Oil Corp., 949 F.2d            a life ring deckhand Nash had to leave the stern of
826, 834 n. 13 (5th Cir.1992); Loose v. Offshore           *901 the vessel, run approximately fifty feet to the
Navigation, Inc., 670 F.2d 493, 500-02 (5th                rear of the pilothouse (impeded by an obstructing
Cir.1982). The force of the language in Smith sug-         hatch), and return to the stern of the vessel. Without
gesting that the time charterer was not responsible        determining Randall's whereabouts, the captain put
for injuries resulting from sending the vessel into        the vessel into gear and moved away, thereby push-
rough seas is undercut by that court's agreement           ing Randall so far from the vessel that Nash could
with the district court that the time charterer's de-      not throw him the life ring. The district court also
cision was “not unreasonable.” Smith, 791 F.2d at          cited several other departures from man overboard
419.                                                       procedures posted on the SEA SAVAGE, as well as
                                                           the failure of Sea Savage to train the vessel's crew
     We think it clear that a time charterer may           properly in rescue procedures. The apportionment
breach its duty of care if it “forces [the vessel under    of 75% of the liability to Sea Savage and only 25%
charter] out in hurricane weather or similar treach-       to Chevron for its role in ordering the evacuation
erous conditions.” Kerr-McGee Corp., 830 F.2d at           was not clearly erroneous.
1341; see also Moore v. Phillips Petroleum Co.,
912 F.2d 789, 791-92 (5th Cir.1992); Graham, 824                [15] Neither was it clearly erroneous for the
F.2d at 388; Helaire, 709 F.2d at 1041-42. The dis-        district court to assign no fault to Randall himself.
trict court was correct to hold that Chevron could         There was eyewitness testimony that Randall's
be held negligent in its capacity as time charterer        swing was not improperly done. Because the SEA
and that such negligence was negligence committed          SAVAGE began to move away from Randall as
as a “vessel” within the meaning of the LHWCA.             soon as he fell overboard, his decision to swim be-
                                                           neath the platform and cling to its legs for support
            2. Sufficiency of the Evidence                 could be found to be reasonable under the circum-
     Sea Savage argues that it was clearly erroneous       stances. We find no error in the district court's ap-
for the district court to assign 75% of the liability      portionment of fault in this case.
for Randall's death to Sea Savage. Specifically, Sea
Savage contends that the district court should have                            C. Damages
assigned more than 25% of the liability to Chevron              Chevron challenges two elements of the district
for its role in ordering the evacuation of the plat-       court's damages award. First, Chevron argues that it
form by vessel instead of by helicopter, and that the      was clear error for the district court to award
district court should have found Randall himself           $1,000,000 for Randall's pain and suffering.
contributorily negligent.                                  Second, Chevron argues that the district court's
                                                           award of loss of society damages was improper un-
     [14] We reject both of Sea Savage's conten-           der the LHWCA.
tions. There was ample evidence to support the dis-
trict court's assignment of 75% of the fault to Sea                        1. Pain and Suffering
Savage, based on the acts and omissions of the                  [16][17][18] A trial judge's assessment of dam-
crew of the SEA SAVAGE. We list only a few of              ages is a finding of fact and is reviewed under the
the pertinent factual findings by the district court,      clearly erroneous standard. Wheat v. United States,
all of which were supported by the evidence. The           860 F.2d 1256, 1259 (5th Cir.1988); Sosa v. M/V
captain of the SEA SAVAGE failed to post any               Lago Izabal, 736 F.2d 1028, 1035 (5th Cir.1984).
crew members near the stern of the vessel where            In the context of jury verdicts, we have held that an




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award is disproportionate to the injury sustained if       than roughly twenty-five minutes, while the evid-
it is so large that it shocks the judicial conscience      ence in Wellborn showed that the decedent could
or indicates passion, prejudice, corruption, bias, or      have been alive and conscious for up to several
another improper motive. Wellborn v. Sears,                hours while pinned beneath the door. Id. at 1428.
Roebuck & Co., 970 F.2d 1420, 1427 (5th                    Additionally, Randall was a mature adult rather
Cir.1992). If we determine that an award is dispro-        than a young child. We do not find Wellborn to be
portionate to the injury, we will order a remittitur in    controlling.
accordance with the maximum recovery rule, which
mandates that the award be reduced to the maxim-               *902 We believe that $500,000 for Randall's
um amount the jury could properly have awarded.            pain and suffering would be reasonable. Should Sea
Id. at 1427-28.                                            Savage, now the real party in interest (see note 1,
                                                           supra ), refuse to accept the reduction of the pain
     [19] After careful consideration, we conclude         and suffering award, it will be entitled to a new trial
that the $1,000,000 award for Randall's pain and           on damages alone. Dixon, 754 F.2d at 590.
suffering must be reduced to $500,000. We recog-
nize that “[o]ur reassessment of [pain and suffer-                            2. Loss of Society
ing] damages cannot be supported entirely by ra-                [20] We next address Chevron's challenge of
tional analysis, but is inherently subjective, in-         the district court's awards for loss of society. Under
volving experience and emotions as well as calcula-        this heading, the district court awarded $300,000 to
tion.” Dixon v. International Harvester Co., 754           Randall's widow, $100,000 to Randall's adult son
F.2d 573, 590 (5th Cir.1985). Randall's pain and           Rod Randall, and $150,000 to Randall's daughter
suffering, although extreme, was mercifully brief.         Holly Randall. It appears that both of Randall's
The district court's award of $1,000,000 translates        children lived at home and that Rod Randall
into $40,000 per minute of pain and suffering, or          worked for his father. Chevron argues that non-
almost $60,000,000 per day. In the Sosa case, we           pecuniary damages such as for loss of society are
suggested that $1,000,000 approached the maxim-            not available as a matter of law in the instant case.
um amount that could be awarded to a burn victim           We disagree.
who sustained severe burns over eighty percent of
                                                                The availability of loss of society damages in
his body and who would endure discomfort and dis-
                                                           maritime cases is an issue that has led the courts to
ability for the rest of his life. Sosa, 736 F.2d at
                                                           weave an intricate web of case law. We begin our
1035. Likewise, in Stratis v. Eastern Air Lines, Inc.,
                                                           analysis with the seminal case of Sea-Land Servs.,
682 F.2d 406 (2d Cir.1982), the court reversed a
                                                           Inc. v. Gaudet, 414 U.S. 573, 94 S.Ct. 806, 39
$1,200,000 pain and suffering award to a plane-
                                                           L.Ed.2d 9 (1974). In Gaudet, the Supreme Court
crash victim who spent forty-two days in a hospital
                                                           held that the widow of a longshoreman could main-
burn unit and emerged a quadriplegic. Id. at 415
                                                           tain a wrongful death action based on the death of
(noting that “in anyone's calculations [an award of
                                                           her husband from injuries suffered while aboard a
approximately $29,000 per day] has to be excess-
                                                           vessel in navigable waters, even though the de-
ive”).
                                                           cedent recovered damages during his lifetime for
    The instant case is distinguishable from Well-         his injuries. Id. at 574-75, 94 S.Ct. at 809-10. The
born, in which we affirmed a $1,000,000 award for          Court further held that compensation for loss of so-
pain and suffering to the estate of a fourteen year-       ciety is available in such cases. Id. at 585-90, 94
old boy who died after being pinned beneath an             S.Ct. at 814-17. The Court eventually extended the
automatic garage door. Wellborn, 970 F.2d at               Gaudet rule in American Export Lines, Inc. v.
1422-23, 1428. Randall clearly suffered no more            Alvez, 446 U.S. 274, 276, 100 S.Ct. 1673, 1675, 64
                                                           L.Ed.2d 284 (1980), to allow recovery of loss of so-




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ciety damages by the spouse of a longshoreman             held that the non-dependent parents of a seaman
who is injured but not killed.                            killed in territorial waters and survived by a spouse
                                                          or children could not recover loss of society dam-
     In a case not involving longshoremen,                ages under the general maritime law in Sistrunk v.
however, the Supreme Court took a less expansive          Circle Bar Drilling Co., 770 F.2d 455, 460-61 (5th
view of the remedies available under maritime law.        Cir.1985), cert. denied, 475 U.S. 1019, 106 S.Ct.
In Mobil Oil Corp. v. Higginbotham, 436 U.S. 618,         1205, 89 L.Ed.2d 318 (1986). Applying the general
98 S.Ct. 2010, 56 L.Ed.2d 581 (1978), the Court           maritime law to an accident that occurred on Lake
considered whether the survivors of a helicopter pi-      Pontchartrain, the court in Truehart v. Blandon, 672
lot who crashed in the Gulf of Mexico outside state       F.Supp. 929, 930 (E.D.La.1987), extended Sistrunk
territorial waters could recover loss of society dam-     to bar loss of society recovery to non-dependent
ages. The Court held that they could not, noting          parents of a non-seaman *903 killed on navigable
that Gaudet applied only to coastal waters, while         waters and leaving no surviving spouse or children.
the Higginbotham case concerned an accident on
the high seas and was governed by the Death on the             In 1990, the Supreme Court again turned its at-
High Seas Act (DOHSA), 46 U.S.C.App. § 762. Id.           tention to this complex area of the law. In Miles v.
at 623-24, 98 S.Ct. at 2014. Because DOHSA                Apex Marine Corp., 498 U.S. 19, 111 S.Ct. 317,
plainly limited recovery to “pecuniary loss[es],” the     112 L.Ed.2d 275 (1990), a seaman had been
Court held that the federal courts were not free to       stabbed to death by a fellow crew member, and the
“supplement” the congressional directive to the           decedent's mother sued the vessel owner for com-
point of meaninglessness. Id. at 625, 98 S.Ct. at         pensation, including loss of society damages. Id. at
2015. Significantly, the Court observed that              21-22, 111 S.Ct. at 320. The issue before the Court
“DOHSA should be the courts' primary guide as             was whether loss of society damages are recover-
they refine the nonstatutory death remedy, both be-       able in a suit brought under the general maritime
cause of the interest in uniformity and because           law for the death of a Jones Act seaman. Id. at 21,
Congress' considered judgment has great force in          111 S.Ct. at 320. The Court held that such damages
its own right.” Id. at 624, 98 S.Ct. at 2014              are not recoverable, extending the rule established
(emphasis added).                                         in Higginbotham for DOHSA cases to “all actions
                                                          for the wrongful death of a seaman, whether under
     After Alvez, the maritime rules regarding loss       DOHSA, the Jones Act, or general maritime law.”
of society damages in this circuit developed some-        Id. at 33, 111 S.Ct. at 326. The Court limited Gaud-
what unevenly. In light of Gaudet and Alvez, we           et to its precise facts. Id. at 31, 111 S.Ct. at 325
took a friendly view of loss of society damages in        (“The holding of Gaudet applies only in territorial
Cruz v. Hendy Int'l Co., 638 F.2d 719 (5th                                                                FN6
                                                          waters, and it applies only to longshoremen.”).
Cir.1981) (overruling in part Christofferson v. Hal-
liburton Co., 534 F.2d 1147 (5th Cir.1976)). In that              FN6. The limitation of the Gaudet rule to
case a seaman suffered personal injuries while his                longshoremen injured in state territorial
vessel was in Louisiana territorial waters. Id. at                waters has been scrupulously observed.
721. His wife sued for loss of consortium and loss                See Robertson v. Arco Oil and Gas Co.,
of society under the Jones Act and general maritime               766 F.Supp. 535, 539 (W.D.La.) (holding
law. Id. at 722. We held that the spouse of a person              that a dependent of a longshoreman injured
entitled to recover for vessel unseaworthiness has a              on the outer continental shelf rather than in
cause of action for loss of society, whether the in-              state territorial waters may not recover
jured person was injured on the high seas or in ter-              damages for loss of the longshoreman's
ritorial waters. Id. at 725. On the other hand, we                consortium), aff'd, 948 F.2d 132 (5th




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         Cir.1991).                                        ing loss of society damages was in fact dependent
                                                           on the decedent. Miles v. Melrose, 882 F.2d 976,
     Thus, Gaudet remains good law, even though            987 (5th Cir.1989), aff'd sub nom. Miles v. Apex
its application has been severely limited. This case       Marine Corp., 498 U.S. 19, 111 S.Ct. 317, 112
comes squarely within its ambit. Randall, we have          L.Ed.2d 275 (1990).
held, was a longshoreman within the meaning of
the LHWCA, and his accident occurred within                     [21][22][23] In any event, we need not unravel
Louisiana state territorial waters. Miles, therefore,      this tangled skein of case law today. In ruling on
does not preclude loss of society damages as a mat-        Sea Savage's post-trial motion to amend the judg-
ter of law in the instant case. The continued vitality     ment, the district court specifically found that Rod
of Gaudet and Alvez on their facts has been noted.         Randall was financially dependent on his father.
See Ferrara v. Fukuoka Senpaku K.K., 1991                  Both Sea Savage and Chevron argue in their briefs
A.M.C.      2249,     2252,     1991    WL     50040       that there was no evidence to support this finding,
(D.Mass.1991) (holding that an injured longshore-          making much ado about the fact that Randall did
man suing under the LHWCA may still bring                  not declare his son as a dependent on his income
claims for loss of consortium on behalf of his             tax returns. However, other credible evidence sup-
spouse under Alvez even after Miles ). We note, as         ports the district court's finding. As Rod Randall
did the Ferrara court, that the LHWCA does not             testified, he had dropped out of college and was liv-
                                                                                                     FN7
explicitly limit damages recoverable to “pecuniary         ing at *904 home when his father died.         It ap-
damages,” as do the DOHSA and the Jones Act. Id.           pears that he had lived at home for most of his life;
We hold that, under Gaudet, Randall's survivors            indeed, he was only twenty-one at the time of his
were entitled to recover loss of society damages.          father's death. He worked for his father, helping
                                                           maintain the family's farm and trucking equipment.
     Chevron argues in the alternative that the dis-       The district court's finding of dependence was not
trict court erred in awarding loss of society dam-         clearly erroneous. When a family unit is maintained
ages to Randall's adult son because only financial         by dependence on a single family member, each of
dependents may recover such damages and there              the dependents may recover for his losses including
was no evidence that Rod Randall was dependent             loss of society in a Moragne wrongful death claim
upon his father. In our view, the law of this circuit      under general maritime law. In re Complaint of
does not unequivocally limit recovery of loss of so-       Patton-Tully Transp. Co., 797 F.2d 206, 213 (5th
ciety damages for the wrongful death of a parent to        Cir.1986).
children who are financially dependent on the de-
ceased parent. The case of Skidmore v. Grueninger,                 FN7. The court below also held, in the al-
506 F.2d 716 (5th Cir.1985), clearly holds that                    ternative, that a presumption of depend-
adult offspring are within the class of plaintiffs en-             ency exists whenever a child continues to
titled to loss of society damages in a Moragne                     live at home with his parents, adopting the
wrongful death action. Id. at 729 n. 11. Financial                 reasoning found in Truehart v. Blandon,
dependence was not mentioned in Skidmore as a                      672 F.Supp. 929, 937 (E.D.La.1987). Be-
prerequisite to recovery of loss of society damages                cause we affirm the court's finding that
by an adult child, and in dicta we have character-                 Rod Randall was in fact dependent upon
ized Skidmore as allowing an adult, non-dependent                  his father, we need not address the validity
child to recover for loss of her mother's society.                 of this presumption.
Sistrunk, 770 F.2d at 458 n. 2. More recently,
however, we have noted that the district court in              We affirm the district court's awards of loss of
Skidmore explicitly found that the adult child seek-       society damages.




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              D. Indemnity and Insurance                     tion of the vessel.
     As is often the case in this type of dispute, the
most hotly contested issue is not whether the acci-            As a maritime contract, the time charter is gov-
dent victim or his family should be compensated            erned by federal law. Thurmond v. Delta Well Sur-
but rather who should ultimately bear the cost of          veyors, 836 F.2d 952, 952 (5th Cir.1988). Indem-
that compensation. The district court decided that         nity agreements are valid and enforceable under
Chevron was entitled to both indemnification for its       federal law. Id.
liability from Sea Savage and insurance coverage
                                                                Sea Savage argues that Lanasse v. Travelers
for its liability from the underwriters of the insur-
                                                           Ins. Co., 450 F.2d 580 (5th Cir.1971), cert. denied,
ance procured for Chevron by Sea Savage. We ad-
                                                           406 U.S. 921, 92 S.Ct. 1779, 32 L.Ed.2d 120
dress these holdings in turn.
                                                           (1972), is dispositive. In that case, a crane operator
                     1. Indemnity                          on an offshore oil platform owned by Chevron acci-
     Sea Savage mounts a two-pronged attack on             dently injured Porphire Lanasse, a crew member on
the district court's holding that it was liable to in-     a vessel receiving equipment from the platform. Id.
demnify Chevron in this case. First, Sea Savage ar-        at 582. Chevron argued, as it argues here, that the
gues that the language of the indemnity clause con-        indemnity provision of its time charter with the ves-
tained in its time charter with Chevron does not en-       sel owner shifted all liability for the incident onto
title Chevron to indemnification for damages               the vessel owner. Id. at 583. Examination reveals
arising out of Chevron's own negligence. Second,           that the indemnity provision at issue in the instant
Sea Savage argues that Chevron's liability in this         case is essentially identical to the one at issue in
case does not arise out of the “management or con-         Lanasse, from which we quote:
trol” of the SEA SAVAGE as required by the time
                                                             Owner shall man, operate, and navigate the ves-
charter. Because Sea Savage's first argument is
                                                             sel. * * * Responsibility for the management and
meritorious, we do not reach Sea Savage's second
                                                             navigation and operation of the vessel shall re-
point.
                                                             main at all times in the owner. * * * Owner
    [24][25] We begin our analysis with the words            hereby agrees to *905 indemnify and hold harm-
of the time charter themselves. That contract                less [Chevron] against all claims * * * as well as
provides, in pertinent part, as follows:                     against any and all claims for damages, whether
                                                             to person or property, and howsoever arising in
    Owner shall man, operate, and navigate the               any way directly or indirectly connected with the
  vessel. The vessel shall prosecute its trips and           possession, navigation, management, and opera-
  perform its services with dispatch, as directed by         tion of the vessel.
  the charterer, but responsibility for the manage-
  ment and navigation and operation of the vessel               Id. at 582 n. 4 (emphasis deleted). The court
  shall remain at all times in the owner, same as          held that the language of this indemnity agreement
  when trading for owner's account; and nothing            could not be stretched so far as to reach the negli-
  herein contained shall be construed as making            gence of Chevron's crane operator, as this negli-
  this a demise.... Owner hereby agrees to defend,         gence was “not even remotely related to the opera-
  indemnify and hold harmless Chevron against all          tion, navigation or management of the vessel.” Id.
  claims for taxes or for penalties or fines, as well      at 583. We also held that, even if the crane accident
  as against any and all claims for damages, wheth-        were covered under the “operation of the vessel”
  er to person or property, and howsoever arising in       clause, the indemnity provision could not be con-
  any way directly or indirectly connected with the        strued to entitle Chevron to indemnification for li-
  possession, navigation, management, and opera-           ability arising from the negligence of its own em-




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ployees. Id. at 583-84 (stating that contractual in-      cases reveal many instances in which we have held
demnity for one's own negligence arises only from         that “[l]ong-established general principles of inter-
the “plainly expressed intention of the parties,          preting indemnity agreements require that indemni-
manifested by language couched in unmistakable            fication for an indemnitee's own negligence be
terms”).                                                  clearly and unequivocally expressed.” Theriot, 783
                                                          F.2d at 540 (quoting Seal Offshore, Inc. v. Americ-
     The district court relied on In re Incident          an Standard, Inc., 736 F.2d 1078, 1081 (5th
Aboard D/B Ocean King, 758 F.2d 1063 (5th                 Cir.1984)); see also United States v. Seckinger, 397
Cir.1985), in reaching its conclusion that this in-       U.S. 203, 211, 90 S.Ct. 880, 885, 25 L.Ed.2d 224
demnity provision did include an agreement that           (1970) (interpreting a government contract accord-
Sea Savage would indemnify Chevron for losses             ing to the principle that “a contractual provision
arising out of Chevron's own negligence. That case        should not be construed to permit an indemnitee to
involved a gas blow out and fire aboard a jackup          recover for his own negligence unless the court is
drilling rig off the coast of Texas. Id. at 1065. The     firmly convinced that such an interpretation reflects
operator of the rig had agreed to bear all costs and      the intention of the parties”); Orduna S.A. v. Zen-
liability in the event of a blow out “from any            Noh Grain Corp., 913 F.2d 1149, 1153 (5th
cause,” and the contract provided that Louisiana          Cir.1990) (“Before enforcing an indemnification
law applied. Id. at 1067 & n. 5. Noting that this         clause for an indemnitee's own negligence, a court
contract involved an “allocation of risk provision”       must be firmly convinced that the exculpatory pro-
rather than an “indemnity” provision, we held that,       vision reflects the intention of the parties.”
under Louisiana law, the language was broad               (citations omitted)). Our interpretation of Louisiana
enough to require the operator to bear the risk of        law has been consistent with these principles. See
the owner's negligence. Id. at 1067 (citing Polozola      Amoco Production Co. v. Forest Oil Corp., 844
v. Garlock, Inc., 343 So.2d 1000 (La.1977), and           F.2d 251, 253 (5th Cir.1988) (“Under Louisiana
Polozola v. Garlock, Inc., 376 So.2d 1009                 law, however, an indemnification agreement will
(La.Ct.App.1979), cert. denied, 379 So.2d 1103            not be construed to cover losses arising from the in-
(La.1980)).                                               demnitee's negligence unless a mutual intent is ex-
                                                          pressed in unequivocal terms.” (footnote omitted));
     Sea Savage argues that Ocean King is inappos-
                                                          Ocean King, 758 F.2d at 1068. The applicable
ite because it involved the application of Louisiana
                                                          standard thus seems to be the same under both
law rather than federal law. The district court
                                                          Louisiana and federal law.
reached the opposite conclusion, using the follow-
ing reasoning: (1) Louisiana law requires more spe-            It may be that the Ocean King case, relied upon
cificity than federal law in order for an indemnity       by the district court, is properly distinguished*906
provision to include indemnification for an indem-        from the instant case. Our case is somewhat similar
nitee's own negligence; (2) the instant indemnity         to Amoco Production, 844 F.2d at 256, in which the
provision would include indemnification for Chev-         court confronted a contractual provision in which
ron's own negligence under Louisiana law; and (3)         the parties agreed that the “specific operation” in
therefore the instant indemnity provision includes        question would be conducted at the “sole cost, risk
indemnification for Chevron's own negligence un-          and expense” of one party. The court declined to
der federal law. Randall, 788 F.Supp. at 1396.            follow Ocean King and instead held that the provi-
                                                          sion did not demonstrate with sufficient clarity a
    [26] We are not convinced that the district
                                                          mutual intent to provide indemnification for
court's basic assumption-that federal law construes
                                                          Amoco's negligence. Id. at 254. In distinguishing
indemnity provisions more generously in favor of
                                                          Ocean King, the court first noted that the indemnity
the indemnitee than Louisiana law-is correct. Our




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provision in Ocean King was much more specific                                 2. Insurance
than the general indemnity provision at issue in                Although we have concluded that Chevron was
Amoco Production. Id. at 256. The same may be              not entitled to indemnification from Sea Savage un-
said of the indemnity provision at issue in the in-        der the terms of the time charter, Chevron may still
stant case. We do not believe that Sea Savage's duty       avoid bearing the ultimate cost for its negligence
to indemnify Chevron for losses “howsoever                 through the protection and indemnification policy
arising” is sufficiently clear and unequivocal to          (P & I policy) procured by Sea Savage naming
shift liability for Chevron's negligence onto Sea          Chevron as an additional insured. Sea Savage was
Savage. As the Amoco Production court also noted,          required to provide Chevron with such insurance
the result in Ocean King seems to have been based          protection by the terms of the time charter, the rel-
in part on the fact that the agreement in that case        evant portion of which reads as follows:
was the product of extensive negotiations, id. at 257
n. 9; the time charter in the instant case seems to be         During the life of this charter, owner will, at its
a form contract prepared and provided by Chevron.            own expense, provide and maintain insurance
Finally, we note that indemnity contracts are to be          covering all liabilities which might arise from the
strictly construed. Smith v. Tenneco Oil Co., 803            possession, management, manning, navigation
F.2d at 1388.                                                and operation of the vessel, which said policies
                                                             shall be in form and amount, and with companies
     [27][28] In the final analysis, however, we             as required and approved by Chevron; and on
need not decide whether Ocean King is distinguish-           which policies Chevron shall be included as party
able because Lanasse is controlling. Confronting             assured and all rights of subrogation against
the indemnity provision in Lanasse we held that              Chevron shall be waived.
damages caused by the indemnitee's own negli-
gence were not covered. Lanasse, 450 F.2d at 582               Sea Savage obtained primary insurance cover-
n. 4, 583-84. There are no legally significant differ-     age from Royal Insurance Company, among others,
ences between that indemnity provision and the one         and excess coverage from American Home Insur-
in the instant case-indeed, both appear to be derived      ance Company (collectively, “the underwriters”).
from Chevron's own form contracts. Even if Lanas-
                                                                The underwriters moved for summary judg-
se and Ocean King are in conflict, we are bound to
                                                           ment on Chevron's claims against them before trial.
follow Lanasse as the earlier precedent. Luna v.
                                                           The district court granted these motions on the
United States Dep't of Health and Human Servs.,
                                                           grounds that Randall's accident fell outside the
948 F.2d 169, 172 (5th Cir.1991). If proof of the
                                                           scope of the P & I policy. Randall, 788 F.Supp. at
continuing vitality of Lanasse were required, it
                                                           1399-1400. After trial, the court reconsidered its
would be provided by our disposition in Lavergne
                                                           decision and reversed itself, holding that the acci-
v. Chevron U.S.A., Inc., 782 F.Supp. 1163, 1172
                                                           dent was within the scope of the policy and that
(W.D.La.1991), aff'd mem., 980 F.2d 1444 (5th
                                                           Chevron was entitled to insurance coverage. See id.
Cir.1992), in which the district court confronted
                                                           at 1406. The court found *907 that no prejudice to
language identical to the indemnity provision in the
                                                           the underwriters resulted from their absence from
instant case and held that it did not require indem-
                                                           the trial. Id. at 1400-01. The underwriters challenge
nification for Chevron's (the indemnitee's) own
                                                           the district court's holding that Chevron is entitled
negligence. Thus, in light of Lanasse and our dis-
                                                           to insurance coverage for its share of the liability
position in Lavergne, we hold that the district court
                                                           for Randall's death.
erred in holding that Chevron was entitled to in-
demnification from Sea Savage for those damages                [29] The pertinent provision in the P & I policy
attributable to Chevron's own negligence.                  issued to Chevron reads as follows:




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    The Assurer hereby undertakes to make good                   There must be some causal operational relation
  to the Assured ... all such loss and/or damage              between the vessel and the resulting injury. The
  and/or expense as the Assured shall as owners of            line may be a wavy one between coverage and
  the vessel named herein have become liable to               non-coverage, especially with industrial complic-
  pay and shall pay on account of ... liability for           ations in these ambiguous amphibious operations
  loss of life of, or personal injury to, or illness of,      plus those arising from the personification of the
  any person....                                              vessel as an actor in a suit in rem. But where in-
                                                              jury is done through nonvessel operations, the
     (emphasis added). The underwriters argue that            vessel must be more than the inert locale of the
Chevron's negligence in this case was not commit-             injury.
ted in the capacity of “owner” of the SEA SAV-
AGE, and that Chevron thus lacks coverage under                  Id. at 584 (footnote omitted). Although the
the policy. Chevron argued to the district court that       phrase “causal operational relation” does little to
this clause had been deleted, but the district court        clarify the meaning of the phrase “as owner” in the
disagreed, see Randall, 788 F.Supp. at 1401-03,             instant case, Lanasse clearly suggests that a time
and Chevron does not challenge this finding on ap-          charterer may become eligible for insurance cover-
peal.                                                       age “as owner” under some circumstances.

     The question presented for our decision, quite              The underwriters direct our attention to Gra-
simply, is whether the district court correctly held        ham v. Milky Way Barges, Inc., 590 F.Supp. 721
that the liability incurred by Chevron in its capacity      (E.D.La.1984), aff'd in part and rev'd in part, 824
as time charterer was incurred “as owner” within            F.2d 376 (5th Cir.1987). In that case, the court held
the meaning of the insurance policy. The court's            Chevron responsible in its capacity as time charter-
reasoning, it appears, was largely based on the as-         er for its negligence in dispatching a vessel in
sumption that the term “owner” has the same mean-           rough weather, leading to the capsizing of the ves-
ing in the insurance policy as it does in § 902(21) in      sel. Id. at 728-29. The court also held that Chevron
the LHWCA. Randall, 788 F.Supp. at 1405                     was not entitled to insurance coverage because its
(“Because the LHWCA treats a time charterer as a            liability arose out of its acts as platform owner
vessel owner and because Chevron's negligence               rather than as owner or operator of the vessel. Id. at
arose from its status as time charterer, Chevron in-        730. We expressed approval of the district court's
curred its liability ‘as owner’ of the vessel.”). The       ruling that Chevron's negligence was independent
underwriters' argument that “owner” does not ne-            of any negligence arising from the “maintenance or
cessarily mean the same thing in the insurance con-         operation” of the vessel, Graham, 824 F.2d at 388,
text as it does in the LHWCA is well-taken. We              which suggests that Chevron's negligence in dis-
proceed to our de novo review of this issue of in-          patching the SEA SAVAGE may have lacked any
surance contract interpretation, tracing the jurispru-      connection to the operation of the vessel, and thus
dence of this circuit on this recurring question.           that the requisite “causal operational relation” to
                                                            the death of Randall may be absent. However, we
     Both Chevron and the underwriters acknow-              did not deny insurance coverage based on Chev-
ledge that Lanasse is the seminal case in this area         ron's status or non-status “as owner,” but rather de-
of the law. In Lanasse, Chevron claimed it was en-          cided instead that insurance coverage was not avail-
titled to insurance coverage “as owner” of the ves-         able because Chevron had violated the navigational
sel on which the victim was injured by the negli-           and operational limits imposed by the policy. Id. at
gence of Chevron's crane operator. Lanasse, 450             384. *908 Graham thus does not represent an abso-
F.2d at 583. The court disagreed. In the words of           lute repudiation of our statement in Lanasse that
Chief Judge Brown,




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time charterers may be covered by insurance                 trict court in Garber Bros. reasoned that vessel-re-
policies “as owner” in some circumstances.                  lated negligence by a party comes within the “as
                                                            owner of” provision, while negligence committed
     Chevron cites the Helaire case in support of the       as platform owner does not. Id.
proposition that any negligence it may have com-
mitted as time charterer is within the “as owner”                Sea Savage and its underwriters argue that
language of the insurance policy. As we have seen,          Garber Bros. was implicitly overruled by this
the time charterer in that case was held liable for         court's decision in Texas E. Transmission Corp. v.
injuries suffered by a worker who was unloading             McMoRan Offshore Exploration Co., 877 F.2d
equipment from a vessel to a platform under §               1214 (5th Cir.), cert. denied, 493 U.S. 937, 110
905(b) of the LHWCA. Helaire, 709 F.2d at 1033,             S.Ct. 332, 107 L.Ed.2d 321 (1989). In that case,
1041-42. The district court in Helaire ruled that the       McMoRan was one of multiple parties that had
time charterer was entitled to insurance coverage           hired towing services from Faustug Marine Corpor-
under a policy essentially identical to the instant         ation. Id. at 1217, 1226. During the towing of a
policy, and we affirmed. Id. at 1041, 1042 & n. 17.         semi-submersible drilling rig that McMoRan had
However, as the underwriters point out, we also             acquired by assignment, an anchor of the towing
noted that the words “as owner of the vessel” had           vessel supplied by Faustug damaged a pipeline
been deleted from the policy, so the time charterer         owned by Texas Eastern. Id. at 1217-19. McMoR-
was entitled to coverage regardless of the capacity         an's liability for its role in ordering the retrieval of
in which it was sued. Id. at 1042. The opinion also         the anchor was assessed at 10%. Id. at 1220-21. In
appears to conflate the meaning of “owner” under            the course of discussing whether the contract
the policy with the definition of “vessel owner” in         between Faustug and McMoRan required Faustug
the LHWCA, although this is not clear. Id. at               to insure McMoRan against this kind of liability,
1041-42.                                                    the court noted that “[t]he usual form of Protection
                                                            & Indemnity insurance, which ‘insures only against
     Chevron also relies on Texas E. Transmission           liability resulting from vessel ownership, ’ would
Corp. v. Garber Bros., 547 F.Supp. 821                      not provide coverage for McMoRan, a non-
(E.D.La.1982). In that case, Union Oil Company              ship-owner.” Id. at 1227 (footnote omitted).
entered into a time charter with Garber Bros. for the
use of a vessel; during operations the vessel's an-              We do not agree with the position urged by Sea
chor collided with a pipeline owned by Texas East-          Savage and its underwriters. Their interpretation of
ern Transmission Corporation. Union Oil was                 McMoRan would make it virtually, if not com-
named as an additional insured, and the policy ap-          pletely, impossible for a time charterer ever to re-
parently included the same “as owner” language as           ceive insurance coverage under any circumstances,
the policy in issue in the instant case. Id. at 822. Al-    and if McMoRan did have such an effect we might
though the claims against Union Oil were dis-               be forced to disregard it as inconsistent with our
missed, Union Oil sought reimbursement for its ex-          earlier opinion in Lanasse. This is not necessary,
penses under the terms of the policy. Id. Union Oil         however, as the underwriters have overstated the
argued that it had been sued by Texas Eastern for           breadth of the holding in McMoRan. As that court
directing the vessel to undertake the operations that       clearly stated,
damaged the pipeline and for failing to assist the
vessel when the risk of collision became apparent,            Any P & I insurance that Faustug might have ob-
that these charges were made against Union Oil in             tained would not have covered McMoRan's negli-
its capacity as charterer of the vessel, and that in-         gence, since McMoRan's negligence did not arise
surance coverage was thus available. Id. The dis-             out of the ownership of a vessel, but out of the
                                                              operation of an anchor retrieval process in which




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  the vessel was only “the inert locale of the in-          ance coverage to Chevron.
  jury.”
                                                               3. Chevron's Expenses Incurred Defending Mrs.
    *909 Id. at 1228 (quoting Lanasse, 450 F.2d at                    Randall's Punitive Damages Claim
584). McMoRan thus does not completely foreclose                  [31] Chevron argues that the district court erred
the possibility that a time charterer can be covered        by refusing to award Chevron costs and attorneys'
under an insurance policy protecting an insured “as         fees incurred in connection with Mrs. Randall's
owner” on a proper set of facts.                            claims for punitive damages. Chevron contends that
                                                            it is entitled to reimbursement for these expenses
     Additionally, as we have suggested, the inter-         under both the indemnity provision of the time
pretation of the insurance policy urged by Sea Sav-         charter and the P & I policies. The claim based on
age and its underwriters would render the insurance         the indemnity provision of the time charter must
coverage virtually meaningless. Sea Savage argues           fail because, as we have already held, Chevron is
that, as owner of the SEA SAVAGE, it retained               not entitled to indemnification from Sea Savage for
control of the navigation, management, and opera-           any losses suffered by Chevron as a result of its
tion of the vessel. Sea Savage also argues that “by         own negligence. We must now consider whether
contract and tradition, Chevron could not act as a          Chevron may recover its costs and attorneys' fees
manager or operator of the vessel,” and that “as a          from Sea Savage's underwriters.
matter of common sense it could not commit fault
‘as owner’ of the vessel.” If this were true, then the           As has been observed, the seminal question in
insurance policy providing coverage for Chevron's           resolution of this coverage issue is the choice of
liability “as owner” of the vessel could never come         law to be applied. 2 Parks, supra, at 1039. We have
into effect. Under this interpretation, no time char-       recently resolved this issue in favor of state law. In
terer could ever satisfy the “causal operational rela-      Taylor v. Lloyds Underwriters, 972 F.2d 666, 667
tionship” requirement so as to qualify for insurance        (5th Cir.1992), cert. denied, 507 U.S. 952, 113
coverage “as owner” of the vessel. We will not con-         S.Ct. 1366, 122 L.Ed.2d 744 (1993), several sea-
strue an insurance policy in such a way that it             man were injured when their lifeboat capsized in
provides no coverage whatsoever to the insured.             the Gulf of Mexico, and they recovered compensat-
                                                            ory and punitive damages against the boat's charter-
     [30] The only connection a time charterer typ-         er in an action brought under general maritime law.
ically has with the vessel it hires is the right to dir-    The charterer was insolvent, and the plaintiffs
ect the vessel's movements. We find persuasive the          sought to recover against three insurance policies,
reasoning of the court below and that of the court in       including a comprehensive general liability policy
Garber Bros. that when the time charterer exercises         and a P & I policy. Id. The district court granted the
this right negligently, it has committed negligence         insurer's motion for summary judgment, holding
“as owner” of the vessel within the meaning of that         that the general maritime law disallows the recov-
phrase in a marine insurance policy. This type of           ery of punitive damages from an insurance com-
negligent conduct, it seems to us, has the requisite        pany. Id. We reversed, holding that no specific and
“causal operational relationship” to the vessel, even       controlling federal rule disallowed such recovery.
though the time charterer wholly lacks the authority        Id. at 669. We held that the district court should
to direct the minutiae of the vessel's day-to-day op-       have applied the law of the state having the greatest
erations. “In this action, Chevron's contribution to        interest in the resolution of the issues, and we re-
Randall's death, ordering the vessel to encounter           manded so that the district court could make that
dangerous seas, clearly is related to the vessel.”          determination. Id. In this case, Louisiana law
Randall, 788 F.Supp. at 1403. The district court            provides the rule of decision.
correctly ordered the underwriters to provide insur-




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     The P & I policy in question insures Chevron            interpret it as establishing a controlling federal rule,
with respect to “[c]osts, charges, and expenses,             holding instead that state law should provide the
reasonably incurred and paid by the Assured in de-           rule of decision. Taylor, 972 F.2d at 668-69; see
fense against any liabilities insured against hereun-        also 2 Parks, supra, at 1041 (noting that no federal
der in respect of the *910 vessel named herein.”             cases exist regarding the coverage of punitive dam-
FN8
       Thus, if punitive damages are liabilities             ages issue).
covered by the P & I policy, Chevron is entitled to
recover from the underwriters the attorneys' fees it              [32] Although the Sharp case, decided by the
spent defending against the punitive damages                 Louisiana Supreme Court, deals with uninsured
claim. Chevron cites several Louisiana cases for the         motorist insurance only, there is nothing in the
proposition that liability insurance contracts               opinion to suggest that its holding would not apply
provide coverage for claims for punitive damages             with equal force to other types of insurance. P & I
unless specifically excluded by the policy. See              policies are, strictly speaking, indemnity policies
Sharp v. Daigre, 555 So.2d 1361, 1363 (La.1990)              rather than liability policies, but the indemnity is it-
(holding that exemplary damages may be recovered             self basically against liabilities, 2 Parks, supra, at
from an insurer on a policy reading “We will pay             1004, and in general indemnity policies are con-
damages which a covered person is legally entitled           strued like any other insurance policy. Id. at 839.
to recover ... because of bodily injury....”); Creech        Sea Savage's underwriters have not directed our at-
v. Aetna Casualty & Sur. Co., 516 So.2d 1168,                tention to any Louisiana cases suggesting that the
1171 (La.Ct.App.1987), cert. denied, 519 So.2d               application of Sharp should be limited in any way,
128 (La.1988). Thus, argues Chevron, because the             nor does our research uncover any. The policy lan-
underwriters would have been obligated to cover              guage at issue in Sharp, which covered damages
any award of punitive damages against Chevron,               arising “because of bodily injury, sickness, or dis-
they must provide coverage for the costs and attor-          ease,” is not more general or all-encompassing than
neys' fees Chevron incurred in defending the claim           the “[l]iability for loss of life of, or personal injury
for punitive damages.                                        to, or illness of, any person” language in the instant
                                                             P & I policy. We therefore hold that under Louisi-
         FN8. We refer, as do the parties, only to           ana law, applied in the absence of a controlling fed-
         the primary P & I policy, because the ex-           eral rule, punitive damages are covered by the P & I
         cess P & I policies cover the same liabilit-        insurance policy at issue in the instant case. Chev-
         ies as the primary policy.                          ron is therefore entitled to recover its costs and at-
                                                             torneys' fees expended in defending Mrs. Randall's
    The underwriters argue that punitive damages,            claim for punitive damages. The district court's
and by extension expenses incurred in defending              holding to the contrary is reversed.
against such damages, are excluded from coverage
under the policy. They contend that punitive dam-                              E. Attorneys' Fees
ages are not liabilities “for loss of life of ... any per-        Our final task on this appeal is to review the
son” as are covered by the policy. For support the           district court's award of attorneys' fees to Chevron.
underwriters cite Smith v. Front Lawn Enters., 1987          The district court referred Chevron's claim for at-
A.M.C. 1130, 1130-31 (E.D.La.1986), in which the             torneys' fees to a magistrate judge, who made sev-
court held that an essentially identical policy did          eral recommendations that Chevron's claims be re-
not provide coverage for a claim for punitive dam-           duced in amount. Specifically, the magistrate judge
ages based on unseaworthiness and refusal to pay             recommended that the hourly rate of Chevron's lead
maintenance and cure. In Taylor, however, we took            trial counsel be reduced from $175 to $150 and that
note of the view expressed in Smith and declined to          the total number of hours billed by Chevron's attor-




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neys be reduced by 30%. The district court heard           MAND for the granting of a remittitur to $500,000
oral argument and refused to adopt these recom-            or a new trial on damages at Sea Savage's option.
mendations, instead finding the hours and rates re-        We REVERSE the district court's holding that
quested by Chevron to be reasonable. Sea Savage            Chevron is entitled to indemnification from Sea
asks this court to reverse the decision of the district    Savage under the time charter. We also REVERSE
court and to enforce the recommendations of the            the district court's denial of attorneys' fees to Chev-
magistrate judge.                                          ron for its defense of the claim for punitive dam-
                                                           ages and REMAND for determination of those fees.
     *911 [33] Our review of the award is hampered         In all other respects, the judgment of the district
by Sea Savage's utter failure to present any author-       court is AFFIRMED. Costs shall be borne by Chev-
ity in its brief for its position that the award is ex-    ron and Sea Savage.
cessive. Sea Savage does not point out any errors
made by the district court. Neither does Sea Savage        ROBERT M. PARKER, District Judge, concurring
address the standard of review the district court          in part, dissenting in part:
should have applied to the magistrate judge's re-               I concur with the majority opinion, with the ex-
commendations, or for that matter the appropriate          ception of the remittitur portion contained in Sec-
standard of review applicable on this appeal. In es-       tion III., C., 1., Damages; Pain and Suffering. I am
sence, Sea Savage's argument boils down to a bald          persuaded that the district court's assessment of the
assertion that the magistrate judge's recommenda-          facts of this case as it relates to the award of dam-
tion was correct and the district court's ultimate         ages in the amount of $1,000,000.00 for pain and
award was not, plus a request that we “review              suffering is not only not clearly erroneous, but falls
Chevron's billings” ourselves. This does not satisfy       within the bounds of reasonable compensation un-
the requirements of Federal Rule of Appellate Pro-         der the circumstances. I therefore limit my dissent
cedure 28(a)(5), which requires the argument sec-          to the remittitur ordered.
tion of the appellant's brief to contain not only the
party's contentions but also its “reasons therefor,        C.A.5 (La.),1994.
with citations to the authorities, statutes and parts      Randall v. Chevron U.S.A., Inc.
of the record relied on.” In the absence of logical        13 F.3d 888, 1994 A.M.C. 1217
argumentation or citation to authority, we decline to
                                                           END OF DOCUMENT
reach the merits of Sea Savage's contention. See
United States v. Ballard, 779 F.2d 287, 295 (5th
Cir.) (holding that claims made “without citing sup-
porting authorities or references to the record” are
considered abandoned on appeal), cert. denied, 475
U.S. 1109, 106 S.Ct. 1518, 89 L.Ed.2d 916 (1986);
Kemlon Prods. and Dev. Co. v. United States, 646
F.2d 223, 224 (5th Cir.) (refusing to reach the mer-
its of a party's claims when that party's brief ad-
dressed neither the merits of its own claims nor the
reasoning of the district court), cert. denied, 454
U.S. 863, 102 S.Ct. 320, 70 L.Ed.2d 162 (1981).

                          IV.
     For the foregoing reasons, we REVERSE the
district court's award for pain and suffering and RE-




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